verizon’ Billing period Feb 3, 2018 to Mar 2, 2018 | Account

Tanya Batten

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Talk activity - continued

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Airtime Long Dist/
Date Time Number Origination Destination Min. Charges Other Chgs Total
Feb8 10:23 AM 3525477077 Ocala, FL Ocala, FL 1 - = =
Febs 4:44PM 352.812.7929 Ocala, FL VM Deposit, CL 1 - - -
Feb8& 4:46PM 952.322.3743 Ocala, FL Dunnellon, FL 2 - _ -
Feb 8 6:08 PM 352.857.5427 Ocala, FL Incoming, CL 2 - - oe
Feb 8 6:32PM 229.315.5375 Ocala, FL Incoming, CL 1 - - -
Feb9 10:29 AM 352.291.4085 Ocala, FL Ocala, FL 1 - - -
Feb9 10:29 AM 352.895.8000 Ocala, FL Incoming, CL n - -~ -
Feb3 1:05AM 352.732.2660 Ocala, FL Ocala, FL 2 - - -
Feb9 Te1AM 352.322.3743 Ocala, FL Incoming, CL 1 - _ -
Feb9 11:22 AM 352.895.8000 Ocala, FL Ocala, FL 1 - -- -
Feb9 12:03 PM 362.291.4085 Ocala, FL Ocala, FL 8 - -- --
FebS 1218 PM 352.857 5427 Ocala, FL Ocala, FL 3 = _ an
Feb 9 1257 PM 362.857.5427 Ocala, FL Ocala, FL n - - -
Feb9 1:08PM 352.895.8000 Ocala, FL Ocala, FL 5 - - -
Feb9g 17 PM = =392.339.1019 Ocala, FL Gainesvl, FL 1 - - _
Feb9 1:20PM 229.315.8146 Ocala, FL. Incoming, CL. 8 - _ --
Feb9 155 PM... 770.877.0073 Ocala, FL Adairsvl, GA” ay = ss =
Feb9 156 PM 352.895.8000 Ocala, FL Ocala, FL 12 - - -
Feb9 2:08PM 352.322.3743 Ocala, FL Dunnellon, FL 4 - - -
Feb 9 2:32 PM_ 352.895.8000 Ocala, FL Ocala, FL 1 - - -
| Feb9 2:33 PM * 770.877.0073 Ocala, FL Adairsvi, GA a =: Bs =
Feb9 3:08 PM 352.854.3343 Ocala, FL Ocala, FL 3 - - =
Feb9 3:19PM 352.291.4085 Ocala, FL Incoming, CL 4 - - ~_
Feb 9 4:01PM 352.895.8000 Ocala, FL Incoming, CL 3 - - --
Feb9 4:14PM 352.895.8000 Ocala, FL Incoming, CL 3 - - -
' Feb9 4318 PM 800.530.7999 Ocala, FL Toll-Free, CL oo - -- ~
Feb9 6:46PM 352.895.8903 Ocala, FL Incoming, GL 3 - - ~
Feb9 771PM 229.315.8146 Ocala, FL Incoming, CL 65 -_ ae =
FebS 9:46PM 352.857.5427 Ocala, FL Incoming, CL 3 = -~ =
Feb 10 954 AM 229.315.5375 Ocala, FL Incoming, CL 6 _ - -
Feb 10 10:48 AM 352.895.8000 Ocala, FL Ocala, FL Ti _ = ~
Feb 10 4:15PM 352.304.7652 Belleview, FL Incoming, GL 22 ~ — --
Feb 11 1:59 AM 229.315.5375 Ocala, FL VM Deposit, CL 1 = ~- -
Feb 1 12:00 PM 229.315.5375 Ocala, FL Incoming, CL 2 - ~ -
Feb 11 12:26 PM 407.750.1751 Ocala, FL Kissimmee, FL 2 _ -- -
Feb 11 418 PM 352.237.7103 Ocala, FL Ocala, FL 4 = ae se
Feb 11 4:40PM 352.291.8629 Ocala, FL Ocala, FL 2 - - _
FebTl 5:24PM 352.39517200 Dunnellon, FL. Ocala, FL 2 - - -
Feb 1 6:19PM 352.222.0224 Ocala, FL Gainesvi, FL 2 - 7 -
Feb 11 6:21PM 352.281.4885 Ocala, FL Gainesvi, FL 2 -- = _
Feb 11 6:26 PM 352.213.1084 Ocala, FL VM Deposit, CL 2 - - --
Feb 11 6:29PM 352.812.7929 Ocala, FL VM Deposit, CL 1 - _ --
Feb 11 6:51PM 352.812.7929 Ocala, FL Incoming, GL 43 ~ - -
Feb 12 7:26 AM 352.857.5427 Ocala, FL Incoming, CL 3 - - -
Feb 12 1013 AM 352.213.1084 Gainesvill, FL VM Deposit, CL 1 - - -

 
verizon’ Billing period Feb 8, 2018 to Mar 2, 2018 | Account # |

Tanya Batten

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Talk activity - continued
Airtime Long Dist/

Date Tima Number Origination Destination Min. Charges Other Chgs Total
Feb 12 1006 AM 352.213.1084 Gainesvill, FL VM Deposit, CL 2 - - -
Feb 12 10:23 AM 352.213.1084 Gainesvill, FL Incoming, CL 4 ~ — i
Feb 12 1:23PM 352.291.4085 Ocala, FL Incoming, CL 8 _ = in
Feb 12 2:03PM 352.445.0338 Ocala, FL Dunnellon, FL. 2 - - oa
Feb 12 2:04PM 352.583.5700 Ocala, FL Dunnellon, FL. 3 - - =
Feb12 2.09PM 352.249.8701 Ocala, FL Beverlyhis, FL 1 = = =
Feb12 242PM 352.422.5835 Ocala, FL VM Deposit, CL 2 = a Ps
Feb 12 2:28PM 352.291.4085 Ocala, FL Incoming, CL 4 ~ = _
Feb 12 253PM 352.433.6636 Ocala, FL Ocala, FL fl - - =
Feb 12 3:20PM 352.861.0566 Ocala, FL Ocala, FL 2 - - s
Feb 12 3353PM 352.249.8701 Ocala, FL Incoming, CL 2 - ~ -
Feb12 7:24PM 352.895.8000 Ocala, FL Ocala, FL rs) = = e
Feb 12 753PM 229.315.8146 Ocala, FL McRae, GA 1 - = -
Feb12 756PM 352.857.5427 Ocala, FL Incoming, CL 2 = = =
Feb 12 8:03PM 352.857.5427 Ocala, FL Incoming, CL 4 - - =
Feb 13 8:29AM 352.291.4092 Ocala, FL Incoming, CL 1 - - a
Feb 18 8:30AM 352.857.5427 Ocala, FL Incoming, CL 3 - = =
Feb 13 TLE AM 352.249.8701 Invemess, FL. Beverlyhis, FL 2 - - tas
Feb 13 NSQ9AM 352.922.3743 Ocala, FL Dunnellon, FL 1 - = =
Feb 13 TSI AM 352.322.3743 Ocala, FL Dunnellon, FL 3 - = =
Feb 8 12:06 PM 352.622.9328 Ocala, FL Incoming, CL. 2 - _ =
Feb 13 119PM = 229,315.8146 Ocala, FL McRae, GA 1 - = as
Feb 18 1:20PM 352.857.5427 Ocala, FL Ocala, FL 6 _ = a
Feb 13 1:27PM 352.861.0566 Ocala, FL Ocala, FL 2 = EE x
Feb18 1:29PM 352,3512872 Ocala, FL Ocala, FL 1 a a =
Feb 13 3:41PM 352.533.5700 Ocala, FL Dunnellon, FL 3 _ a =
Feb 13 3:47PM 352.240.7435 Ocala, FL Gainesvi, FL 3 - - <
Feb18  351PM 352.402.3100 Ocala, FL Ocala, FL 8 ee a =
Feb13 4:02PM 352.895.8000 Ocala, FL Ocala, FL 3 ~ zs =
Feb 4:06PM 352.322.3743 Ocala, FL VM Deposit, CL 1 - - -
Feb 13 4:07 PM 352.546.4565 Ocala, FL Orange Spg, FL 4 = : ES
Feb 13 4:08 PM 352.237.8222 Ocala, FL Ocala, FL 6 _ es i
Feb 13 4:14PM 352.519.9960 Ocala, FL VM Deposit, CL 1 ~ “ i
Feb 13 4:40PM 352.402.3111 Ocala, FL Incoming, CL 3 - = =
Feb 18 4:42PM 352.322.3743 Ocala, FL Incoming, CL 4 ~ =_ =
Feb 13 5:57PM 352.857.5427 Ocala, FL Incoming, CL 2 s ~ -
Feb 13 6:32PM 352.895.8000 Ocala, FL VM Deposit, CL 1 _ = oe
Feb 13 6:36PM 352.895.8000 Ocala, FL Incoming, CL 5 = = =
Feb 14 950 AM 352.282.4500 Ocala, FL Ocala, FL 1 = a =
Feb14.  951AM 7708770773 Ocala, FL Adairsvi, GA 3 aE = ss
Feb 4 954 AM 352.615.7001 Ocala, FL VM Deposit, CL 2 = a a
Feb 14 958 AM 352.732.2660 Ocala, FL Ocala, FL 4 = it us
Feb 14 10:08 AM 352.426.2705 Ocala, FL Ocala, FL 2 - = ~
Feb 144 1043 AM 352.369.4044 Ocala, FL Ocala, FL 2 - a s
Feb 14 1014 AM 352.812.6997 Ocala, FL Ocala, FL 2 - a ee

 
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Tanya Batten
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Talk activity - continued
Airtime Long Dist/
Date Time § Number Origination Destination Min. Charges Other Chgs Total
Feb22 2:37PM 2293155375 Ocala, FL McRae, GA 8 ~ = 7
Feb22 349PM 352.433.6636 Ocala, FL Incoming, CL 1 - _ =
\Feb'22 5:13 PM 703.980.2808 Ocala, FL Arlington, VA 1 = = am
Feb22 5:21PM 703.980.2808 Ocala, FL Incoming, CL 3 = _ =
| Feb22 5:28PM 2482125949 Ocala,FL Pontiac, MI _ 2 _ rs i
Feb22 5:33PM 352.804.0074 Ocala, FL Ocala, FL 2 _ = =
Feb22°995:35 PM! 248.212.5949 Ocala, FL Pontiac, MI 2 - ~ =
Feb 22 5:37PM 352.804.0074 Ocala, FL Ocala, FL 2 ~ - ~
Feb22 5:53PM 248.2125949 Ocala, FL Incoming, CL 1 i = re
Feb22 6:11PM 844.217.5290 Ocala, FL Incoming, CL 1 = a =
Feb22 7:00PM 352.304.7652 Ocala, FL Ocala, FL 8 - = =
Feb22 7:20PM 352.857.5427 Ocala, FL Incoming, CL 3 - ~ a
Feb22 7:35PM 352.857.5427 Ocala, FL Incoming, CL 1 - = =
Feb23 7:37AM 352.857.5427 Ocala, FL Incoming, CL 1 = = =
Feb23 7:58AM 352.895.8000 Ocala, FL Ocala, FL 25 = -- =
Feb23 2.06PM 337.378.3281 Ocala, FL VM Deposit, CL 1 - = a
Feb23 4:23PM 229.315.8146 Ocala, FL McRae, GA 1 - - =
Feb23 4:30PM 352.333.4000 Ocala, FL Gainesvl, FL 2 = ee ~
Feb23 4:35PM 2293158146 Ocala, FL Incoming, CL 25 = os =
Feb23 5:00PM 352.857.5427 Ocala, FL Ocala, FL 8 - = =
Feb23 5:17PM 352.857.5427 Ocala, FL Incoming, CL 2 $e ws =
Feb23 844PM 352.537.3102 Ocala, FL Incoming, CL 1 we = wa
Feb24 tIS7AM 352.433.6636 Ocala, FL Incoming, CL 1 = ee =
Feb24 132PM 352.304.7652 Ocala, FL Ocala, FL 14 ~ a =
Feb24 %59PM 352.857.5427 Ocala, FL Incoming, CL 2 - = =
Feb 24 6:08PM 229.315.8146 Ocala, FL Incoming, CL 21 - a we
Feb25 9:29AM 352.812.7920 Ocala, FL Incoming, CL n ~ a _
Feb25 1048AM 229.315.8146 Ocala, FL Incoming, CL 8 = ies =
Feb25 12:17PM 352.857.5427 Ocala, FL Incoming, CL 4 _ = =
Feb25 4.07PM 229.315.8146 Ocala, FL Incoming, CL 5 - = “
Feb25 6:06PM 352.857.5427 Ocala, FL Incoming, CL 2 ~ = =
Feb26 8:39AM 352.274.0006 Ocala, FL Ocala, FL 1 - “ 7
Feb26 1:31AM 352.895.8000 Ocala, FL VM Deposit, CL 1 ~ - _
Feb26 1133AM 229.315.8146 Ocala, FL Incoming, CL 1 = - =
Feb26 12:35PM 229.315.8146 Ocala, FL Incoming, CL n _ = 7
Feb26 4:03PM 352.476.5578 Ocala, FL Inverness, FL 1 _ _ =
Feb26 4:11PM 2293158146 Ocala, FL Incoming, CL 11 - — on
Feb26 4:22PM 352.895.8000 Ocala, FL Incoming, CL 2 7 -- =
Feb26 4:50PM 352.476.5578 Ocala, FL Incoming, CL 1 7 _ 7
Feb26 6:57PM 352.476.5578 Ocala, FL Inverness, FL 1 i ~ _
Feb26 8:08PM 352.322.3743 Ocala, FL Dunnellon, FL 6 - 7 ~
Feb 27 7:05AM 352.895.8000 Ocala, FL Ocala, FL 2 _ 7 7
Feb27 -719AM 800.530.7999 Ocala, FL Toll-Free, CL q _ _ _
Feb27 B803AM 352.812.7920 Ocala, FL VM Deposit, CL 1 = = =
Feb27 808AM 352.812.7929 Ocala, FL Incoming, CL 34 - ~ -

 
verizon’ Billing period Feb 3, 2018 to Mar 2, 2018 | Account #

Tanya Batten

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Talk activity - continued

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Airtime Long Dist/
Date Time | Number Origination Destination Min. Charges Other Chgs Total
Feb27 854AM 352.572.1739 Ocala, FL Ocala, FL 2 = is i
Feb27 8:58AM 352.572.5466 Ocala, FL VM Deposit, CL 2 = = =
Feb 27 9.19 AM 352.622.9328 Ocala, FL Incoming, CL 3 - - -
Feb27 9:21AM 352.274.0006 Ocala, FL VM Deposit, CL 1 “ es x
Feb27 9:22AM 352.274.0006 Ocala, FL Ocala, FL 2 = = os
Feb 27 10:14AM 8005307999 Ocala, FL Toll-Free, CL 2 = a ee
Feb27 10:32AM 352,726,7160 Ocala, FL Inverness, FL 3 - me =
Feb 27 10:34 AM 352.322.3743 Ocala, FL Incoming, CL 3 = ~ =
Feb27 10:37AM 800530.7999 Ocala, FL Toll-Free, CL 3 = = -
Feb27 10:42AM 352.812.7929 Ocala, FL VM Deposit, CL 1 = a =
Feb27  1055AM 352.322.3743 Ocala, FL Incoming, CL 1 se = my
Feb27 12:17PM 352.476.5578 Invemess, FL VM Deposit, CL 1 = = =
Feb27 1247PM 352.476.5578 Invemess, FL VM Deposit, CL 2 = = =
Feb 27 12:28PM 352.572.5466 Invemess, FL Incoming, CL 1 - - _
Feb27 2:31PM 352.291.4085 Belleview, FL Incoming, CL 4 = - =
Feb27 4:20PM 3524765578 ~ Ocala, FL Incoming, CL 1 = = =
Feb27 6:29PM 352.304.7652 Ocala, FL VM Deposit, CL 1 = 7 =
Feb28  940AM 352.812.7929 Hawthome, FL Incoming, CL 1 - = =
Feb 28 12:25PM 352.274.0006 Ocala, FL Incoming, CL 1 ~ - --
Feb28  1239PM 352.274.0006 Ocala, FL VM Deposit, CL 1 ss = =
Feb2B  1243PM 352.274.0006 Ocala, FL Incoming, CL 2 os a =
Feb28  1250PM 352.274.0006 Ocala, FL Incoming, CL 3 _ os a
Feb28  148PM 703.209.6422 Ocala, FL VM Deposit, CL 2 = ss a
Feb28  448PM 2293158146 Ocala, FL McRae, GA 1 a = za
Feb28 4:21PM 2293155375 Ocala, FL Incoming, CL 5 se = is
Feb 28 4:26PM 229.315.8146 Ocala, FL Incoming, CL 2 - - _
Feb28 4:35PM 352.854,3600 Ocala, FL Ocala, FL 4 = g =
Feb28 4:49PM 703.209.6422 Ocala, FL Incoming, CL 2 gs as Ee
Feb28 5.02PM 352.304.7652 Ocala, FL Incoming, CL 23 = = a
Feb28 7:14PM 229.315.5375 Belleview, FL Incoming, CL 2 _ = z
Feb28 7:57PM 2293158146 Belleview, FL McRae, GA 9 “ e z
Mar 1 8:15 AM 352.3517200 Ocala, FL Ocala, FL 2 = = _
Mar 1 1:47PM 352.572.3900 Ocala, FL Ocala, FL 3 = = =
Mar 1 150 PM 352.817.6809 Ocala, FL VM Deposit, CL 1 = = ws
Mar1 2:17PM 352.857.3215 Ocala, FL Incoming, CL 1 a = ss
Mar 1 2:40PM 229.315.8146 Ocala, FL Incoming, CL 8 - - --
Mar 1 2:47PM 352.895.8000 Ocala, FL Incoming, CL 7 - - =
Mar 1 5:48PM 352.895.8000 Ocala, FL Incoming, CL 21 7 = tis
Mar 1 6:13PM 352.857.5427 Ocala, FL Incoming, CL 1 = am =
Mar 1 6:15PM 352.857.5427 _ Ocala, FL Incoming, CL 19 2 = os
Mar 4 652PM 3528575427 —Ocala,FL Incoming, CL 4 se =
Mar 1 657 PM 352.857.5427 Ocala, FL Incoming, CL 7 ss = a
Mar 1 7:35PM 352.817.6809 Ocala, FL Incoming, CL 6 - - =
Mar 2 7:23 AM 352.857.5427 Ocala, FL Ocala, FL 2 es = si
Mar 2 9:26 AM 352.895.8000 Ocala, FL Ocala, FL 5 = oe -

 

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Airtime Long Dist/
Date Time Number Origination Destination Min. Charges Other Chgs Total
Jan 3 10:14 AM 352.895.8000 Ocala, FL Ocala, FL 10 - - --
Jan3 2:19PM 352.274.2377 Ocala, FL Ocala, FL 1 -- - -~
Jan 3 2:21PM 352.854.3600 Ocala, FL Ocala, FL 2 - - --
Jan 3 2:39PM 352.464.6088 Ocala, FL Inverness, FL 1 - _ ~
Jan3 2:40PM 352.433.3969 Ocala, FL Ocala, FL 2 _ - -
Jan 3 3:00PM 229.315.5375 Ocala, FL Incoming, CL 2 - -- -
dan 3 3:08 PM 352.854.3600 Ocala, FL Incoming, CL 2 - - -
Jan3 3:58PM 352.427.4509 Ocala, FL Ocala, FL 2 - -- -
Jan3 5:25PM 877.826.1590 Ocala, FL Toll-Free, CL 4D ~ -- -
Jan3 6:31PM 352.857.5427 Ocala, FL Ocala, FL 1 _ - -
Jan 4 8:32 AM 352.817.4623 Ocala, FL Ocala, FL 2 - - -
Jan 4 8:35 AM 352.220.0700 Ocala, FL Crystalriv, FL 3 a -- -
Jan 4 B:43 AM 352.274.2377 Ocala, FL Ocala, FL 2 - - -
Jan 4 8:44 AM 352.426.4220 Ocala, FL Ocala, FL 2 -- -- _
Jan 4 9:47 AM 352.895.8000 Ocala, FL Ocala, FL 6 - - -
Jan 4 10:00 AM 352.895.8000 Ocala, FL VM Deposit, CL 1 - - -
Jan 4 10:02 AM 352.426.4220 Ocala, FL Ocala, FL 2 ~ - --
Jan 4 10:04 AM 352.817.4623 Ocala, FL Incoming, CL 1 _ _ _-
Jan 4 10:06 AM 352.895.8000 Ocala, FL Incoming, CL 4 _ - -
Jan 4 10:42 AM 352.322.3743 Ocala, FL Incoming, CL 4 -- - ~
Jan4 10:49. AM 352.897.0191 Ocala, FL Dunnellon, FL 10 -- -- -
Jan 4 1059 AM 352.857.3026 Ocala, FL Ocala, FL 5 _ - _
dan 4 1157 AM 352.895.8000 Ocala, FL Incoming, CL 5 - - _
dan 4 1210 PM 352.895.8000 Ocala, FL Incoming, CL 3 _ - -
Jan 4 2:13PM 352.438.0088 Ocala, FL Ocala, FL 3 -- - --
Jan 4 3:27PM 352.895.8000 Ocala, FL Incoming, CL 3 _ - -
dan 4 5:15PM 352.895.8000 Ocala, FL Ocala, FL 6 _ -- ~
Jan 4 6:05PM 352.322.3743 Ocala, FL VM Deposit, CL 1 - ~ -
Jan5 8:09 AM 352.812.7929 Ocala, FL Ocala, FL 4 _ - _
Jan 5 8:43 AM 352.237.8400 Ocala, FL Ocala, FL 1 - - --
Jan 5 3:05PM 352.322.0520 Ocala, FL VM Deposit, CL. 1 - - -
Jan 5 5:08PM 352.465.0264 Ocala, FL Dunnellon, FL I _ = asi
Jan 5 5:09 PM 352.445.9010 Ocala, FL VM Deposit, CL 2 = = -
Jan 5 5:16 PM 352.445.9010 Ocala, FL Incoming, GL 3 _ - -
Jan 5 7:39PM 352.304.7652 Ocala, FL Incoming, CL 24 _ _ _
Jan 6 10 PM = «229.315.5375 Ocala, FL Incoming, CL 5 - ~ -
Jan 7 3:20PM 229.315.8146 Ocala, FL Incoming, CL 44 = - -
Jan 7 5:25PM 352.857.5427 Ocala, FL VM Deposit, CL 2 - - -
dan 8 BAM 352.274.0006 Ocala, FL Ocala, FL 1 _ -_ -
Jan 8 Ta? AM 352.875.1417 Gainesvill, FL Ocala, FL 4 -- - -
Jan 8 1:20 AM 352.732.4427 Gainesvill, FL Ocala, FL 2 - - _
Jan 8 12:02PM 352.220.0700 Reddick, FL Crystalriv, FL 4 - __ - -
Jan 8 12:06 PM 352.340.7010 Reddick, FL Weekichspg, FL 2 - - -
Jan 8 1:06PM 352.817.4623 Ocala, FL Ocala, FL 3 -- - -
Jan 8 140PM 229,315.5375 Ocala, FL Incoming, CL. 2 ae a =
Jan 8 141PM 352.875.1417 Ocala, FL Incoming, GL 1 - - -
Jan 8 2:41PM 352.817.4623 Ocala, FL Incoming, CL 2 - - _

 
verizon’ Billing period Jan 3, 2018 to Feb 2, 2018 | Account #

  

Tanya Batten
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Talk activity - continued

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Airtime Long Dist/
Date Time Number Origination Destination Min. Charges Other Chgs Total
Jan 12 1S AM 419.388.9310 Ocala, FL Wauseon, OH 2 - - -
Jan 12 11:20 AM 419.388.9310 Ocala, FL Incoming, CL 1 -- - -
Jan 12 1:48AM 352.433.6636 Ocala, FL Incoming, CL 1 ~ - -
dan 12 12:23PM 352.629.6883 Ocala, FL Ocala, FL 2 - - -
dan 12 12:25PM 352.304.1084 Ocala, FL Ocala, FL 2 - - =_
Jan 12 12:28 PM 352.789.9829 Ocala, FL Ocala, FL 1 = _ _
dan 12 1:28PM = 352.895.8000 Ocala, FL Incoming, CL 10 ~ _ ~
Jan 12 150PM 229.315.8146 Ocala, FL Incoming, CL 8 - - -
Jan 12 2:31PM 352.622.2601 Dunnellon, FL Ocala, FL 1 _ - -
Jan 12 2:33PM 352.622.2601 Citrus Spr, FL Ocala, FL 2 _ ~ _
Jan 12 2:40PM 352.875.1417 Citrus Spr, FL Incoming, CL 1 -- ad --
Jan 12 4:18PM 352.454.0376 Ocala, FL Incoming, CL 22 - _ -
Jan 12 5:49 PM 352.857.5427 Ocala, FL Incoming, GL 33 - _ -
dan 73 3:03PM 352.857.5427 Ocklawaha, FL Ocala, FL 3 - - -
Jan 14 THO AM 352.812.7929 Ocala, FL Incoming, CL 28 _ - -
Jan 14 1:48 AM 352.895.8000 Ocala, FL Incoming, CL 6 _ - -
Jan 14 TSB. AM 229.315.8146 Ocala, FL Incoming, CL t2 - - ~
Jan 14 12:09 PM 352.857.5427 Ocala, FL Incoming, CL 2 -- - ~
Jan 14 6:43PM 352.857.5427 Ocala, FL Incoming, GL 1 - _ =
Jan 9:47 AM 352.304.1084 Ocala, FL Ocala, FL 2 -- _ -
Jan 10:21AM 352.895.8000 Ocala, FL Incoming, CL 2 - -- -
dan 15 NO7 AM 352.322.3743 Inverness, FL Dunnellon, FL 1 - - -
Jan 5 12:40 PM 352.843.1445 Ocala, FL Ocala, FL T - - ~
Jan 15 1249PM 352.572.2199 Ocala, FL Ocala, FL 1 _ - =
dan 5 2:03PM 229.315.5375 Ocala, FL Incoming, CL 3 - - --
Jan 15 3:46PM 800.700.8744 Ocala, FL Toll-Free, CL 1 - _ ~~
Jan «3:46 PM 800.700.8744 Ocala, FL Toll-Free, CL 3 7 - =
Jan 16 10:22 AM 352.351.7200 Ocala, FL Ocala, FL 3 - - -
dan 16 1056 AM 352.351.7200 Ocala, FL Ocala, FL 2 - - -
Jan 6 2:13PM 229.315.5375 Ocala, FL Incoming, CL t2 _ - -
Jan 16 410PM 352.857.5427 Ocala, FL Ocala, FL 2 - -- -
Jan 16 4:16PM 352.857.5427 Ocala, FL Ocala, FL 2 - - -
Jan Tf 8:53 AM 352.895.8000 Ocala, FL Ocala, FL 6 - _ -
Jan 77 120 PM 352.624.0080 Ocala, FL Ocala, FL 2 _ _ -
Jan 17 256PM 229.315.8146 Ocala, FL Incoming, CL 23 - _ -
Jan 3318 PM 352.895.8000 Ocala, FL Incoming, CL tz - - -
Jan 17 4:15PM 352.895.8000 Ocala, FL Incoming, CL 2 = - _
Jan 17 4:21PM 352.624.0080 Ocala, FL Ocala, FL 7 _- - ~
Jan 17 4:28PM 229.315.8146 Ocala, FL McRae, GA 7 - o -
Jan 17 4:37 PM 352.895.6409 Ocala, FL Ocala, FL 2 ~~ < “=
Jan 17 5:08PM 352.895.6409 Ocala, FL Incoming, CL 4 - - -
Jan 18 9:07 AM 352.895.8000 Ocala, FL Incoming, CL 10 - _ -
Jan 18 917 AM 352.322.3743 Ocala, FL Dunnellon, FL 21 _ 7 _
Jan 18 70:06 AM 352.322.0520 Ocala, FL Incoming, CL 29 - - -
Jan 8 10:43 AM 352.512.0000 Ocala, FL Ocala, FL 3 -- - -

 
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Tanya Batten

Talk activity - continued

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Airtime Long Dist/
Date Time Number Origination Destination Min. Charges Other Chgs Total
Jan 8 1054 AM 352.236.1188 Ocala, FL Ocala, FL 1 - = =
Jan18 1055AM 352.236.1411 Ocala, FL Ocala, FL 4 se = rr
Jan 18 1:00 AM 352.594.1500 Ocala, FL Gainesvl, FL 2 - - -
Jan 18 TLO1AM 352.594.1500 Ocala, FL Gainesvl, FL 5 - _ =
Jan 18 TOF AM 352.732.4427 Ocala, FL Ocala, FL 3 ae - -
dan TIO AM =352.274.0006 Ocala, FL Ocala, FL 3 - = -
Jan 8 Tl2 AM = 352.857.3026 Ocala, FL Incoming, CL 2 - _ ~
Jan 18 113PM 352.895.8000 Ocala, FL Ocala, FL 3 - at iis
Jan #8 138PM 352.512.0000 Ocala, FL Incoming, CL 3 - = k-
Jan 18 1:44PM 352.362.1600 Ocala, FL Ocala, FL 2 - - -
Jani8 2.05PM 352.427.8262 Ocala, FL VM Deposit, CL. 1 = ss =
Jan 18 2:45PM 912.222.7884 Ocala, FL Brunswick, GA 2 - - wis
Jan 18 6:22PM 352.857.5427 Ocala, FL Incoming, CL 1 - “ -
Jani8 8:46PM 352.812.7929 Ocala, FL Incoming, CL 13 2 zs ae
dan 19 6:45 AM 229.315.8146 Ocala, FL McRae, GA 3 _ _ sas
Jan 9 712 AM 362.274.0006 Ocala, FL Ocala, FL 1 _ - -
Jan 19 7:34 AM 352.812.7929 Ocala, FL Incoming, CL 3 - - i
Jan 19 9:01AM 352.895.8000 Ocala, FL Incoming, CL 1 -~ -- -
Jani8 9:51AM 352.895.8000 Ocala, FL VM Deposit, CL 1 = = =
Jan 19 1039 AM 352.895.8000 Ocala, FL Ocala, FL 2 -- - ar
Jan 19 10:21AM 352.237.0773 Ocala, FL Incoming, CL 1 -- se a
Jan 19 1OS1AM 229.315.8146 Ocala, FL McRae, GA 2 - —
Jan 9 10:58 AM 352.895.8000 Ocala, FL VM Deposit, CL 1 - ~ _
Jan 19 11:54 AM 352.895.8000 Ocala, FL Incoming, CL 5 - mn -
Jan 19 12:01PM 952.622.4200 Ocala, FL Ocala, FL 1 - _ =
Jan 19 12:02 PM 352.812.7929 Ocala, FL Ocala, FL 3 _ on “
Jan 19 12:04 PM 912.222.7884 Ocala, FL Incoming, GL 3 - a i
Jan 19 12:06 PM 352.812.7929 Ocala, FL Ocala, FL 4 - ss sa
Jan 19 121PM 352.812.7929 Ocala, FL Ocala, FL 7 = = i
Jan 18 2:37PM 352.812.7929 Ocala, FL Ocala, FL 8 a as sk
Jan 19 2:44PM 352.895.8000 Ocala, FL Ocala, FL 5 - me is
Jan 19 249PM 229.315.8146 Ocala, FL McRae, GA Te a es a
Jan 13 5:42PM 352.857.5427 Ocala, FL Incoming, GL 3 _ = Po
Jan 20 8:59 AM 352.274.0006 Ocala, FL Ocala, FL 3 _ - ae
Jan 20 6:09PM 229.315.8146 Saint Augu, FL McRae, GA 12 - - --
Jan 21 908 AM 229.315.8146 ST. August, FL Incoming, CL 1 - - ae
Jan 22 TIS? AM 912.222.7884 ST. August, FL Incoming, CL 2 ~ - -
Jan 22 145 PM 352.687.5250 Palatka, FL Incoming, CL 1 ~ a =
Jan 22 212PM 229.315.5375 Palatka, FL Incoming, CL 1 _ “~ ss
Jan 22 4:22PM 352.857.5427 Ocala, FL Incoming, CL 2 -- - zu
Jan22 4:36PM 352.857.5427 Ocala, FL Incoming, CL 4 = = =
dan 22 6:06PM 352.895.8000 Ocala, FL Incoming, CL 3 ~ — ~
Jan 22 6:20PM 229.3155375 Ocala, FL Incoming, CL 3 = _ -
Jan 22 6:53PM 352.812.7929 Ocala, FL Incoming, CL 9 - iin me
Jan 22 7:01PM 352.895.8000 Ocala, FL Ocala, FL 1 -- _ =e

 
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Talk activity - continued

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Airtime Long Dist/
Date Time Number Origination Destination Min. Charges Other Chgs Total
Jan 25 12:38PM 352.433.6636 Ocala, FL Incoming, CL 1 - _ -
Jan 25 12:39PM 352.857.5427 Ocala, FL Ocala, FL 4 - — i”
Jan25 215 PM_ 352.895.8000 Ocala, FL Incoming, CL 2 ay = _
dan 25 2:38 PM 352.895.8000 Ocala, FL Incoming, CL nN _ -- -
Jan 25 2:56PM 352.572.7309 Ocala, FL VM Deposit, CL 2 - - -
Jan 25 4:17PM 844.217.5290 Ocala, FL Incoming, CL 1 - oo -
Jan 25 4:29PM 8773728477 Ocala, FL Toll-Free, CL nto - - =
Jan 25 4:49PM 352.433.6636 Ocala, FL Incoming, CL 1 - “ a
Jan 25 452PM 352.433.6636 Ocala, FL Incoming, CL 1 - - -
Jan25 5:25PM 352.454.4623 Ocala, FL Incoming, CL 2 = a =
dan 25 6:25PM 352.433.6636 Ocala, FL Incoming, CL 5 -- es a
Jan 25 6:57PM 352.895.8000 Ocala, FL Incoming, CL 9 -- = ae
Jan25._7-09PM 888.729.6339 Ocala, FL Toll-Free, CL 4 = = =
Jan25 7:22PM 352.857.5427 Ocala, FL Ocala, FL 7 = ae =
Jan25 8:32PM 352.857.5427 Ocala, FL Ocala, FL 2 es = zs
Jan25 8:34 PM 352.857.5427 Ocala, FL Ocala, FL 2 = = =
Jan 26 819 AM 352.629.6707 Ocala, FL Ocala, FL 2 = a i
dan 26 8:57 AM 352.644.2472 Ocala, FL Incoming, CL 2 - ae ros
Jan 26 9:01AM 916.436.5328 Ocala, FL Incoming, CL 1 _ ~- -
Jan26 10:42 AM 352.895.8000 Ocala, FL VM Deposit, CL 1 ss = =
Jan 26 10:43 AM 352.322.3743 Ocala, FL VM Deposit, CL 1 = we a
dan 26 10:43 AM 352.322.3743 Ocala, FL Dunnellon, FL 4 = = ic
dan 26 10:58 AM 352.895.8000 Ocala, FL Ocala, FL 9 _ = ss
Jan 26 TIS6 AM 352.322.3743 Ocala, FL Incoming, CL 2 “- = =
Jan 26 12:14PM 352.895.8000 Ocala, FL Incoming, CL 3 - - _
Jan26  1258PM 352.895.8000 Ocala, FL Ocala, FL 1 = ws =
Jan 26 2:02PM 352.812.7929 Lake City, FL Incoming, CL 34 _- - --
Jan 26 2:36PM 352.812.7929 Lake Park, GA Incoming, CL 2 ~ ~ -
Jan 26 249PM 352.572.7309 Lake Park, GA Incoming, CL 1 - —_ ~
Jan 26 3:36PM 352.433.6636 Tifton, GA Incoming, CL 2 - “ -
Jan 26 3:43PM 229.315.5375 Ashbum, GA Incoming, CL T2 _ - -
Jan 26 453 PM 352.433.6636 Macon, GA Incoming, CL 2 - _ Doe
Jan26 5.06PM 352.687.4000 Forsyth, GA SIrspgshrs, FL 2 = ie -
dan 26 6:24PM 352.433.6636 Marietta, GA Incoming, CL 2 _ wa si
dan 26 70 PM 352.427.5431 Calhoun, GA Ocala, FL nT ~ = we
Jan26  815PM 352.812.7929 LA Fayette, GA Ocala, FL 11 = = _
Jan 27 TLOO AM 352.812.7929 Lenox, GA Incoming, CL 12 - - =
Jan28  22AM 229.315.5375 Ocala, FL Incoming, CL 7 = ~ ~
Jan2B 3:55PM 352.857.5427 Ocala, FL Incoming, CL 9 7 L =
Jan28  6AOPM 229.3155375 Ocala, FL Incoming, CL 3 - a 7
Jan 29 9:14 AM 352.895.6409 Ocala, FL VM Deposit, CL 1 - S ~
Jan29 9:15AM 352.687.5250 Ocala, FL Sirspgshrs, FL 1 - _ ~
dan 29 97 AM 352.895.2355 Ocala, FL VM Deposit, CL 2 ~ -- =
Jan29 9:19AM 352.895.2855 Ocala, FL Incoming, CL 2 = 7 =
Jan28 9:22AM 352.553.7324 Ocala, FL VM Deposit, CL 2 aS - i

 

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verizon’ Billing period Apr 3, 2018 to May 2, 2018 | Account ty

Tanya Batten

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Talk activity - continued
Airtime Long Dist/
Date Time Number Origination Destination Min. Charges Other Chgs Total
Apr 24 6:01PM 352.857.5427 Ocala, FL Ocala, FL a | _ - -
Apr 24 6:05PM 352.304.7652 Ocala, FL Ocala, FL 4 - - --
Apr 24 7:23PM 352.687.4000 Ocala, FL Sirspgshrs, FL 4 - - -
Apr 25 9:20 AM 352.895.8000 Ocala, FL Incoming, CL 1 — — --
Apr 25 1158 AM 352.291.4085 Ocala, FL Incoming, CL 1 -- -- _
Apr 25 W2A2PM 352.812.3073 Ocala, FL Ocala, FL 1 - - _
Apr 25. 213 PM 352.817.5965 Ocala, FL VM Deposit, CL 2 - - -
Apr 25 2:21PM 352.895.8000 Ocala, FL Ocala, FL 3 - _ -
Apr 25 4:07PM 352.895.8000 Ocala, FL Incoming, CL 1 - = _
‘Apr 25 5:34PM 888.723.8010 _ Ocala, FL Toll-Free, CL 8 - _ -
Apr 25 8:00PM 229.315.5975 The Villag, FL Incoming, CL 2 _ _ -
Apr 26 8:35 AM 352.812.7929 Ocala, FL Ocala, FL 6 _ - ae
Apr 26 12:36PM 352.732.0770 Ocala, FL Incoming, CL 1 -- - --
Apr 26 12:41PM 352.857.5427 Ocala, FL Ocala, FL 3 - - -
Apr 26 1401PM 352.895.8000 Ocala, FL Incoming, CL 1 = _ -
Apr 26 136 PM 352.572.3900 _ Ocala, FL Ocala, FL 1 - - _
Apr 26 2:12PM 352.422.2387 Ocala, FL Inverness, FL. 2 - _ -
Apr 26 2:14PM 352.427.3333 Ocala, FL Ocala, FL 2 - - -
Apr 26 2:16 PM 352.422.2387 Ocala, FL Incoming, CL a - - --
Apr 26 217 PM 352.817.5965 Ocala, FL Ocala, FL 4 - -— -
Apr 26 2:25PM 352.895.8903 Ocala, FL Ocala, FL 1 _ - -
Apr 26 2:27PM 352.601.1175 Ocala, FL Crystalriv, FL 3 ~ - -
Apr 26 2:32PM 352.422.2387 Ocala, FL Inverness, FL 2 = - -
Apr 26 2:34PM 352.895.8903 Ocala, FL Incoming, CL 1 _ - -
Apr 26 2:35PM 352.233.1416 Ocala, FL Belleview, FL 3 - 7 -
Apr 26 2:40PM 352.322.3743 Ocala, FL Dunnellon, FL 4 _ ~- -
Apr 26 3:49PM 352.895.8000 Ocala, FL VM Deposit, CL ld - _ -
Apr 26 40PM 229.315.6746 Ocala, FL Incoming, CL 1 -- _ =
Apr 26 510 PM 352.895.8000 Ocala, FL Incoming, CL 2 -- - =
_Apr26 __5:13.PM... 800.530.7999 Ocala, FL Toll-Free, CL 3 7 = =
Apr26 549PM_ 800530.7999 Ocala, FL Toll-Free) Ck 2 = = =
Apr 26 5:22PM 352.895.8903 Ocala, FL Incoming, CL 1 - - -
Apr 26 6:51PM 352.895.8000 Ocala, FL Incoming, CL 3 - - ~
Apr 26 9:7 PM 352.812.7929 Ocala, FL Incoming, CL 3 - - -
Apr 27 8:24 AM 352.322.3743 Ocala, FL Dunnellon, FL 6 - _ _
Apr 27 8:30 AM 352.895.8000 Ocala, FL Incoming, CL 3g -- = -
Apr 27 8:33 AM 352.322.3743 Ocala, FL Dunnellon, FL 8 - - -
Apr 27 1:29 AM 352.422.2387 Citrus Spr, FL Incoming, CL 1 ~ - -
Apr 27 1:58 AM 352.304.7652 Beverly HI, FL Incoming, CL 3 - - -
Apr 27 1:00PM 352.732.0770 Crystal Rl, FL Incoming, CL 2 - _ -
Apr 27 4:29PM 229.315.5375 Ocala, FL McRae, GA 6 - - -
Apr 27 4:49PM 352.857.5427 Ocala, FL Ocala, FL 3 - - -
Apr 27 5:03PM 352.572.3900 Ocala, FL Incoming, CL 2 - ~ -
Apr 27 5:56PM 352,304,7652 Ocala, FL Incoming, CL 32 - - -
Apr 27 B40PM 352.812.7929 Ocala, FL Incoming, CL 2 - _ -

 
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Talk activity - continued
Airtime Long Dist/

Date Time Number Origination Destination Min. Charges Other Chgs Total
Apr 28 W257 PM 3528575427 Ocala, FL Ocala, FL 5 - ans a
Apr 28 +05 PM 352.857.5427 Ocala, FL Incoming, CL 1 - = =
Apr 28 196 PM 352.895.8903 Ocala, FL Ocala, FL 8 _ ~ -
Apr 28 251PM 352.812.7929 Ocala, FL Ocala, FL 2 - i =
Apr 28 3:32PM 229.315.5375 Ocala, FL Incoming, CL. 2 ~ - -
Apr 28 3:49PM 352.433.6636 Ocala, FL Incoming, CL. 2 -- = -
Apr 28 4:94PM 352.857.5427 _ Ocala, FL Incoming, CL 2 - it eis
Apr 28 476 PM 352.895.8903 Ocala, FL Incoming, CL 1 - - a
Apr 28 6:07PM 352.278.4432 Ocala, FL VM Deposit, CL 2 - ~ i
Apr 29 7055 AM 352.812.7929 Ocala, FL Ocala, FL 60 - ~ ae
Apr 29 1212 PM 352.857.5427 Ocala, FL Incoming, CL 2 - - _
Apr 29 214PM 229.3155375 Ocala, FL McRae, GA 1 _ _ =
Apr 29 4:29PM 229.315.5375 Ocala, FL McRae, GA 1 - = an
Apr 29 5:38PM 352.857.5427 Ocala, FL Incoming, CL 2 - - en
Apr 29 5:41PM 352.857.5427 Ocala, FL Incoming, CL 4 _- _ _
Apr 29 6:03 PM 352.857.5427 Ocala, FL Incoming, CL 3 _ - -
Apr 30 10:00 AM 362.732.8531 Ocala, FL Incoming, CL 4 _ - se
Apr 30 70:33 AM 352.278.4432 Ocala, FL VM Deposit, CL 2 - - on
Apr 30 10:34 AM 352.392.3261 Ocala, FL Gainesvi, FL 3 - - _
Apr 30 10:41AM 352.302.2796 Ocala, FL Crystalriv, FL 2 - - -
Apr30 1045AM 352.861.2522 Ocala, FL Ocala, FL 4 = = 7m
Apr 30 1050 AM 352.895.7904 Ocala, FL Ocala, FL 6 _ - _
Apr 30 156 PM 352.387.2383 Ocala, FL Ocala, FL 3 - = -
Apr 30 2:00PM 352.274.5052 Ocala, FL Ocala, FL 2 ~ = Fo
Apr30 244PM 352.391.7024 Ocala, FL Lady Lake, FL 2 = = =
Apr 30 216 PM 352.291.7155 Ocala, FL Ocala, FL 2 - - ~
Apr 30 3:00 PM 352.817.6809 Ocala, FL Incoming, CL 2 - - -
Apr 30 3:02PM 352.895.8000 Ocala, FL Incoming, CL 3 - - _
Apr 30 3:7 PM 352.895.8000 Ocala, FL Incoming, CL 1 - - -
Apr 30 4:29PM 352.286.4981 Ocala, FL Ocala, FL 2 _ - =
Apr 30 4:33PM 808.298.2999 Ocala, FL Wailuku, Hl 2 - 7 =
Apr 30 458PM 808.298.2999 Ocala, FL Incoming, CL 1 - i =
Apr 30 459PM 808.298.2999 Ocala, FL Incoming, CL 3 - = os
Apr 30 7:29PM 229.315.8146 Ocala, FL McRae, GA 8 - - -
May 1 B23 AM 352.895.8000 Ocala, FL Incoming, CL 22 _ - -
May 1 9:45 AM 352.615.0976 Belleview, FL Ocala, FL 1 - - ~-
May 1 958 AM 229.315.5375 Oxford, FL Incoming, CL 1 _ - -
May 1 10:07 AM 352.391.7024 Wildwood, FL VM Deposit, CL 1 - -- i
May 1 70:08 AM 352.391.7024 Wildwood, FL VM Deposit, CL 1 - - ii
May 1 O:1AM 352.391.7024 Wildwood, FL VM Deposit, CL 2 ~ - -
May 1 10:35 AM 352.391.7024 The Villag, FL Incoming, CL 2 ~ - -
May 1 Ti? AM = 352.812.7929 Wildwood, FL Ocala, FL 7 _ - ~
May 1 1:40 AM 352.615.0976 Summerfiel, FL Incoming, CL 23 - - _
May 1 12:02PM 229.315.5375 Ocala, FL Incoming, GL 4 - - iggt
May 1 12:15PM 352.895.8000 Ocala, FL Ocala, FL 2 - ai ie

 

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verizon’ Billing period Mar 3, 2018 to Apr 2, 2018 | Account #

 

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Talk activity - continued

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Airtime Long Dist/
Date Time Number Origination Destination Min. Charges Other Chgs Total
Mar 15 3:54PM 352.895.8000 Ocala, FL Incoming, CL 8 - - ~
Mar 15 4:05PM 352.812.7929 Ocala, FL Ocala, FL 9 ~ - -
Mar 15. 43 PM 352.895.8000 Belleview, FL Incoming, CL 3 _ -- -
Mar 15 6:36PM 352.857.5427 Belleview, FL Incoming, CL 6 - - -
Mar 15 9:01PM 352.857.5427 Ocala, FL Incoming, CL 1 - - “-
Mar 16 1016 AM 352.628.2441 Reddick, FL Homosssspg, FL 1 o -- -
“Mari6@™ 7408'AM 800.284.1144 Ocala, FL Toll-Free, CL Sip _ “_ =
Mar 16 1:28AM 352.812.7929 Ocala, FL Ocala, FL 3 _ -~ =
Mar 16 11:43 AM 352.322.0520 ' Ocala, FL Incoming, CL 23 - - -
Mart 12:09PM 800.284.1144 Ocala, FL Toll-Free; CL 47 = 7 =
Mar 16 1258 PM 352.572.2556 Ocala, FL Ocala, FL 2 _ _- -
Mar 16 5:08PM 229.315.8146 Ocala, FL Incoming, CL 21 - _
Mar 16 5:28 PM 952.857.5427 Ocala, FL Incoming, CL 5 - - --
Mar 17 12:14PM 352.895.8000 Ocala, FL Incoming, CL 9 - -- -
Mar 17 12:23 PM 229.315.5375 Ocala, FL Incoming, GL 1 -- - -
Mar 17 7:42PM 352.680.0376 Ocala, FL SIrspgshrs, FL 3 - - ~
Mar 18 5:26 AM 352.433.6636 Ocala, FL Incoming, CL 1 ~ - ~
Mari8  1058AM 2293155375 Ocala, FL McRae, GA 6 im me zs
Mar 18 102 PM 229.315.5375 Belleview, FL Incoming, CL 2 _ _ -
Mar 18 1:07 PM 352.857.5427 Belleview, FL Incoming, GL 1 -- -- _-
Mar 18 1:35PM 229.315.5375 Belleview, FL McRae, GA 1 - -— -
Mar 18 453 PM 352.433.6636 Ocala, FL Incoming, CL 1 ~ - _
Mar 18 5:00PM 352.812.8399 Ocala, FL Incoming, CL 1 - - -
Mar18 8:20PM 352.857.5427 Ocala,FL Incoming, CL 2 = = 2
Mar19_753AM 352.732.2458 Ocala, FL Ocala, FL 4 = as a
Mar 19 8:46 AM 352.726.8353 Ocala, FL Incoming, CL 3 -- - -
Mar 19 8:49 AM 386.590.2110 Ocala, FL Branford, FL 1 - - -
Mar 19 B50 AM 229.315.5375 Ocala, FL Incoming, CL nl _ - -
Mar 19 70:21AM 352.322.3743 Invemess, FL Dunnellon, FL 2 = - _
Mar 19 10:35 AM 352.322.3743 Inverness, FL Incoming, CL 2 = - =
Mar 19 10:44 AM 352.212.0205 Inverness, FL Incoming, GL 3 -- -- -
Mar 19 1:04 AM 352.922.3743 Invemess, FL Dunnellon, FL 2 -- - _
Mar 19 1:20 AM 352.628.2441 Invemess, FL Homosssspg, FL 1 - = =
Mar 19 12:22 PM 352.602.8127 Homosassa, FL Incoming, CL 1 _ ~ -
Mar 19 12:23 PM 352.602.8127 Homosassa, FL Incoming, CL 2 - -- _
Mar 19 4:22PM = 352,5922.3743 Invemess, FL Incoming, CL 4 - - -
Mar 19 2:07 PM 352.812.7929 Ocala, FL Ocala, FL 3 - si =
Mar 19 618 PM 229.915.5375 Ocala, FL Incoming, CL 1 - _- _
Mar 19 6:35 PM 352.895.8000 Ocala, FL Incoming, CL 2 -_- - _
Mar 19 7PM 352.322.3743 Ocala, FL Dunnellon, FL 2 -_- - -
Mar 20 956 AM 229.315.5375 Ocala, FL Incoming, CL 1 - _ -
Mar 20 9:57AM 2293155375 OcalaFL Incoming, CL 1 - - -
Mar20 1073 AM 352.812.7929 Ocala, FL Ocala, FL 23 -- a -
Mar20 1:03AM 352.433.6636 Belleview, FL Ocala, FL 1 - - -

 

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Mar20 TIS8AM 352.812.7929 Summertiel, FL Ocala, FL
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Talk activity - continued

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Airtime Long Dist/
Date Time Number Origination Destination Min. Charges Other Chgs Total
Mar20 11:42AM 352.812.7929 The Villag, FL Incoming, CL 5 7 as =
Mar20 11:47AM 352.857.3026 Oxford, FL Ocala, FL 4 os ms =
Mar20 1154AM 860.798.5888 Lady Lake, FL Hartford, CT 1 _ ne fs
Mar20 TIS7AM 229.315.5375 Lady Lake, FL VM Deposit, CL 1 ~ = ai
Mar20 12:22PM 352.615.0976 Lady Lake, FL Ocala, FL 1 = = zs
Mar20 12:39PM 844.217.5290 Summerfiel, FL Incoming, CL 1 - sa Ss
Mar20 1253PM 800.222.1134 Belleview, FL Toll-Free, CL 5 = = —
Mer20 1:26PM 352.857.3026 Belleview, FL Ocala, FL 2 - “ a
Mar20 188PM 844.222.8999 Belleview, FL Toll-Free, CL 5 - ~ =
Mar20 2:21PM 220.315.5375 Belleview, FL McRae, GA 1 - es <i
Mar20 2:22PM 952.857.3026 Belleview, FL Ocala, FL 1 - a —
Mar20 2:32PM 352.857.3026 Ocala, FL Incoming, CL 1 = os en
Mar20 2:34PM 352.857.3026 Ocala, FL Ocala, FL 1 ~ = =
Mar20 2:35PM 352.857.3026 Ocala, FL Ocala, FL 1 _ ~ ia
Mar20 5:08PM 352,2914085 Ocala, FL Incoming, CL 3 = = =
Mar20 5:31PM 352.857.5427 Ocala, FL Incoming, CL 4 = = =
Mar20 7:17PM 229.3158146 Ocala, FL McRae, GA 3 = a _
Mar20 9:00PM 352.857.5427 Ocala, FL Ocala, FL 4 ao ~ ns
Mar20 9:05PM 352.274.0006 Ocala, FL Ocala, FL 1 = ~ =
Mar20 9:06PM 352.274.0006 Ocala, FL Incoming, CL 1 = = =
Mar 21 8:20 AM 352.857.5427 Ocala, FL Incoming, CL 3 - 7 =
Mar 21 TLS AM 229.315.5375 Ocala, FL Incoming, CL 3 _ - -
Mar21 1212 PM 352.875.1451 Ocala, FL Incoming, CL 1 = =
Mar 21 1257PM 352.624.2337 Ocala, FL Ocala, FL 1 - = ou
Mar21 2:11PM 352.861.9400 Ocala, FL Ocala, FL 3 _ = a
Mar21 328PM 352,8123073 Ocala, FL Incoming, CL 1 24 as =
Mar21 4:28PM 352.274.0006 Ocala, FL VM Deposit, CL 1 = = =
Mar21 4:30PM 352.274.0006 Ocala, FL Incoming, CL 4 = _ =
Mar2i 630PM 2293155375 Ocala, FL Incoming, CL 7 = a =
Mar21 6:39PM 352.274.0006 Ocala, FL Incoming, CL 8 = = ss
Maf2i)0) G:47/PM...256.2515101 Ocala, FL Boaz, AL 1 = = =
Mar21 6:47PM 352.8619400 Ocala, FL Ocala, FL 5 _ se =
Mar 21 655PM 352.857.5427 Ocala, FL Incoming, CL 3 ~ _ -
Mar21 7:04PM 352.274.0006 Ocala, FL Ocala, FL 2 = = 5
Mar 21 7:06PM 352.274.0006 Ocala, FL Ocala, FL 1 = = zs
Mar22 9:20AM 352.408.3544 Ocala, FL VM Deposit, CL 2 = - =
Mar22 9:23AM 352.351.7490 Ocala, FL Incoming, CL 2 = _ =
Mar22 9:25AM 352.422.4362 Ocala, FL Inverness, FL 2 - _ as
Mar22 9:27AM 941.746.1031 Ocala, FL VM Deposit, CL 2 = ~ Pe
Mar22 9S81AM 852.422.4362 Ocala, FL Incoming, CL 1 ie = gs
Mar22 9:32AM 352.840.5437 Ocala, FL Ocala, FL 5 = = -
Mar22 9:40AM 352.408.8544 Ocala, FL Incoming, CL 1 —- a =
Man22~ 9:41AM: 866:762.2237 Ocala, FL Toll-Free) CL. 1 - a &
Mar22 9:45AM 352.793.7005 Ocala, FL Bushnell, FL 2 -- - -
Mar22 9:49AM 352.408.3544 Ocala, FL Incoming, CL 1 ie « os

 
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Talk activity - continued

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Airtime Long Dist/

Date Time Number Origination Destination Min. Charges Other Chgs Total
‘Mar22 9:53AM 417.389.8843 Ocala, FL Neosho, MO!) 3 = ee =
Mar22 1034 AM 229.315.5375 Ocala, FL Incoming, CL 4 - _ -
Mar22 TILO1AM 352.351.7200 Ocala, FL Ocala, FL 3 - ~ -
Mar 22 1:02PM 352.237.5400 Ocala, FL Ocala, FL 1 = 2 ie
Mar 22 103PM 352.237.5400 Ocala, FL Ocala, FL 1 = = 2
Mar 22 104PM 352.857.5427 Ocala, FL Incoming, CL 1 - - ~
Mar 22 131PM 352.237.5400 Ocala, FL Ocala, FL 7 _ - -
Mar 22 157PM 352.369.1001 Ocala, FL Ocala, FL 1 - - -
Mar 22 2:00 PM 352.869.3700 Ocala, FL Ocala, FL 2 - - -
Mar.22 2:02PM. 866.762.2237 Ocala, FL Toll-Free, CL 12 - -- --
Mar22 -2:14PM_ 877.711.3662 Ocala, FL Toll-Free, CL 2 = = =
Mar 22 2:30PM 352.322.3743 Ocala, FL Incoming, CL 4 _ - -
Mar 22 2:36PM 417.389.8843 Ocala, FL Neosho; MO... 2 -- - -
Mar 22 2:42PM 352.207.0811 Ocala, FL Ocala, FL 4 - - --
Mar 22 4:03 PM 352.857.5427 Ocala, FL Incoming, GL 5 _ - -
Mar22 4:39PM 800,340.2009 Ocala, FL Toll-Free, CL 1 = = = —
Mar 22 5:1.PM 888.882.1582 Ocala, FL Toll-Free, CL 1 _ - -
Mar 22 7:25PM = 352.857.5427 Belleview, FL Incoming, CL 2 “= - ~-
Mar 23 8:02 AM 800.340.2009 Ocala, FL Toll-Free, CL 1 = _ -
Mar 23 8:05 AM 229.315.5375 Ocala, FL VM Deposit, CL I - -- _
Mar 23 B05 AM 352.274.0006 Ocala, FL VM Deposit, CL 1 “- - _
Mar 23 8:06 AM 229.315.8146 Ocala, FL McRae, GA 4 - - _
Mar 23 812 AM 877.711.3662 Ocala, FL Toll-Free, CL 8 - - -
Mar 23 8:20 AM 352.840.5437 Ocala, FL Ocala, FL 1 -- ee =
Mar 23 8:42 AM 800.340.2009 Ocala, FL Toll-Free, CL 1 - -- =
Mar 23 B44 AM 352.408.3544 Ocala, FL Leesburg, FL 2 - i i
Mar23 1059AM 352.840.5497 Lady Lake, FL Ocala, FL 1 ~ _ me
Mar23 1059AM 352.840.5437 Lady Lake, FL Ocala, FL 2 - ~ ee
Mar23 TLOITAM 352.840.5437 Lady Lake, FL Ocala, FL 3 - -- -
Mar 23 1250PM 229.315.8146 Ocala, FL McRae, GA 3 _ - --
Mar 23 2:54PM 229.315.6746 Ocala, FL Incoming, CL 6 _ - -
Mar 23 3:12PM 352.895.8000 Ocala, FL Ocala, FL 10 - - -
Mar 23 3:23PM 352.226.6493 Ocala, FL VM Deposit, CL 1 - -_ ~-
Mar 23 3:33PM 352.840.5437 Ocala, FL Ocala, FL 6 - - -
Mar 23 3:39PM 352.895.8000 Ocala, FL Ocala, FL 4 -- - a
Mar 23 412PM 941.840.3858 Ocala, FL Incoming, CL 2 _ -- -
Mar 23 4:28PM 352.861.2522 Ocala, FL Incoming, CL 1 - _ -
Mar 23 5:58PM 352.857.5427 Ocala, FL Incoming, CL 14 - _ =
Mar 23 6:16 PM 352.426.0650 Ocala, FL Ocala, FL 6 - Es
Mar 23 6:41PM 229.315.8146 Ocala, FL McRae, GA 37 -- _ _
Mar 23 7:34PM = 229.315.5375 Ocala, FL Incoming, CL 3 - - --
Mar23 10:22PM 352.433.6636 Lady Lake, FL Incoming, CL 1 - - -
Mar24 9:53AM 229.315.5375 Ocala, FL Incoming, CL 4 tr =
Mar 24. 10:41AM 229.915.5375 Ocala, FL Incoming, CL 1 _ - es
Mar 24 10:42 AM 229.315.5375 Ocala, FL Incoming, CL 1 -- - -

 
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Talk activity - continued
Airtime Long Dist/
Date Time Number Origination Destination Min. Charges Other Chgs Total
Mar24 1O51AM 229.315.8146 Ocala, FL McRae, GA 2 - - =
Mar24 THSAM 229,3158146 Ocala, FL Incoming, CL 1 _ ~ =
Mar25 6:06PM 844.217.5290 Ocala, FL Incoming, CL 2 = = ~
Mar26 12:01PM 352.422.4362 Gainesvill, FL Incoming, CL 2 = “ -
Mar26 12:24PM 352.895.8000 Gainesvill, FL Incoming, CL 3 ~ ~ ms
Mar26 12:35PM 352.895.8000 Gainesvill, FL Incoming, CL 7 - = a
Mar26 201PM 352.322.3743 Ocala, FL Incoming, CL 3 - - =
Mar26 = 211PM_ 352.895.8000 Ocala, FL. Ocala, FL 3 - = Be
Mar26 244PM 352.422.4962 Ocala, FL VM Deposit, CL 1 ~ = =
Mar26 223PM 352.422.4962 Ocala, FL Inverness, FL 1 - = =
Mar26 3:25PM 352.857.5427 Dunnellon, FL Incoming, CL 4 ~ - as
Mar 26 3:29PM 352.895.8000 Dunnellon, FL Incoming, CL 1 - - _
Mar26 4:20PM 386.274.8051 Oxford, FL Incoming, CL 8 - ~ =
Mar26 451PM 352.857.5427 Belleview, FL Incoming, CL 6 ~ - _
Mar26 6:11PM 844.2175290 Ocala, FL Incoming, CL 1 - os os
Mar26 6:15PM 352.207.0811 Ocala, FL Ocala, FL 2 = ~ -
Mar26 6:23PM 352.217.7107 Ocala, FL Leesburg, FL 2 - - ~
Mar26 6:27PM 352.217.7107 Ocala, FL Incoming, CL 2 - - we
Mar26 6:30PM 2293158146 Ocala, FL Incoming, CL 3 ~ = =
Mar26 7:58PM 352.857.5427 Ocala, FL Incoming, CL 2 _ om =
Mar26  BOPM 352.857.5427 Ocala, FL Incoming, CL 1 - ~ _
Mar26 8.55PM 352.812.7929 Ocala, FL 27 - _ =
Mar27 8:08 AM 8655310488 Ocala, FL : 5 ~ - ~
Mar27 8:19AM 352.857.5427 Ocala, FL Ocala, FL 2 ~ _ ~
Mar27 8:23 AM 352.793.7005 Ocala, FL Bushnell, FL 1 - _ ==
oy Mar 2799°98:33)AM! 865:5310488 Ocala, FL _ Knoxville, TN 2 en = =
Mar27 &29AM 352.201.4085 Ocala, FL Incoming, CL 2 a = ee
Mar 27 940AM 352.812.7929 Ocala, FL Incoming, CL. 1 — _ 7
Mar27 954AM 352.812.7929 Williston, FL Incoming, CL 1 - - te
Mar27 139M 352.793.7005 Ocala, FL Bushnell, FL 1 - _ -
Mar27 1154AM 352.812.7929 Ocala, FL Incoming, CL 20 = = “«
Mar27 1:26PM 352.216.4669 Wildwood, FL Ocala, FL 2 es = =
Mar27 182PM 352.433.6636 Wildwood, FL incoming, CL 5 = = Es
Mar27 2:05PM 352.615.0976 Oxford, FL Ocala, FL 5 _ = =f
Mar27 347PM 352.922.3743 Ocala, FL Dunnellon, FL 2 = = ~
Mar27 350PM 352.322.3743 Ocala, FL Dunnellon, FL 1 - - =
Mar27 5:06PM 229.3155375 Ocala, FL McRae, GA 1 - _ =
Mar27 5:28PM 229.3155375 Ocala, FL Incoming, CL 3 - _ =
Mar27 5:31PM 229,3155375 Ocala, FL Incoming, CL 1 - = =
Mar27 5:53PM 352.922.3743 Ocala, FL Incoming, CL 1 = = =
Mar27 6:26PM 352.857.5427 Ocala, FL Incoming, CL 5 - _ _
Mar27 6:46PM 352.322.3743 Ocala, FL VM Deposit, CL 1 = _ -
Mar27 G:47PM 352.922.3743 Ocala, FL VM Deposit, CL 1 = = =
Mar27 = 7:03PM 352.922.5743 Ocala, FL Incoming, CL 3 - 7 =
Mar27 7:18PM 352.895.8000 Ocala, FL VM Deposit, CL 1 -- - =

 

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Talk activity - continued
Airtime Long Dist/

Date Time Number Origination Destination Min. Charges Other Chgs Total
Mar27 7:32PM. 352.857.5427 Ocala, FL Incoming, CL 1 - = —
Mar27 7:42PM _ 352.857.5427 Ocala, FL Incoming, CL 2 = = =
Mar27 -8A3PM 229.315.8146 Ocala, FL Incoming, CL z 2 = =
Mar28 8:21AM 352.812.7929 Ocala, FL Incoming, CL 26 = = fe
Mar 28 8:48 AM 352.895.8000 Ocala, FL Ocala, FL 7 = = =
Mar28 9:24 AM 352.732.2660 Ocala, FL Ocala, FL 3 = - Za
Mar28 9:49AM 3528127929 Ocala, FL Ocala, FL 3 = = =
Mar28 10:06 AM 352.732.0297 Ocala, FL Ocala, FL 5 = = =
Mar28 2:45PM 352.857.5427 Ocala, FL Incoming, CL 8 a = =
Mar28 6:58PM 352.895.8000 Belleview, FL Ocala, FL 7 = = =
Mar29. 3.10PM 352.572.4532 Ocala, FL Ocala, FL 2 = = =
Mar29  344PM 352.489.4511 Ocala, FL Dunnellon, FL 2 zs = =
Mar29  348PM 352.817.0459 Ocala, FL Ocala, FL 2 zB = =
Mar29. 3:24PM 352.817.0459 Ocala, FL Ocala, FL 3 oi = =
Mar 29 3:29PM 352.291.4085 Ocala, FL Incoming, CL 6 - - _
Mar29 4.01PM 352.857.6496 Ocala, FL Ocala, FL 3 = = =
Mar28 4:03PM 352.895.8000 Ocala, FL Ocala, FL 4 as = x
Mar29 441PM 352.857.6496 Ocala, FL Ocala, FL 2 s s zs
Mar29 48PM 352.636.4539 Ocala, FL Eustis, FL 2 = z =
Mar29  449PM 352.216.0746 Ocala, FL Ocala, FL 2 i = =
Mar29 5:37PM 352.680.0376 Ocala, FL Sirspgshrs, FL 3 = z =
Mar29 5:42PM 229,315.5375 Ocala, FL Incoming, CL 6 = = =
Mar29 7:48PM 352.857.6496 Ocala, FL Incoming, CL 2 = = mn
Mar30 814 AM 352.895.8000 Ocala, FL Ocala, FL 20 - - =
Mar30 10:59AM 352.572.4029 Ocala, FL Incoming, CL 1 = oe ~ =
Mar 30 12:31PM 352.322.3743 Ocala, FL Dunnellon, FL 2 = = =
Mar30 12:43PM 352.322.3743 Ocala, FL Incoming, CL 2 S ss =
Mar30 7.09PM 352.895.8000 Ocala, FL Incoming, CL 2 = ia _
Mar30. 2.07PM 865.531.0488 Ocala, FL Knoxville, TN 3 = = =
Mar30 3:37PM 352.895.8000 Ocala, FL Ocala, FL 7 = = =
Mar30° 4:09/PM" 855:355.9800 Ocala, FL Toll-Free, CL 4 = = =
Mar30 6:42PM 229.3155375 Ocala, FL VM Deposit, CL 1 = 2 =
Mar 30 7:05PM 229.315.5375 Ocala, FL Incoming, CL 5 - - _
Mar31 9:42AM 352.622.3727 Ocala, FL Ocala, FL 2 = s _
Mar31 9:48AM 229.3155375 Ocala, FL Incoming, CL 5 a = Pe
Mar31 1:09AM 2293158146 Ocala, FL Incoming, CL 26 = =
Mar31 11:83AM 352.857.5427 Ocala, FL Incoming, CL 2 Ss = =
Mar31 6:30PM 352.857.5427 Ocala, FL Incoming, CL 2 = 2“ =
Apr 4 7:29PM 229.315.5375 Ocala, FL Incoming, CL 9 = 2 "
Apr 2 9:27 AM 352.489.4511 Dunnellon, FL Dunnellon, FL 2 _ ~ -
Apr2 1017 AM 352.812.7929 Williston, FL Incoming, CL 1 ™ = “
Apr2 1109 AM_ 352.875.1451 Ocala, FL Incoming, CL_ 1 = -
Apr 2 1159 AM 352.5723900 Ocala, FL Ocala, FL 2 = ee =
Apr2 1200 PM 352.812.7929 Ocala, FL Ocala, FL 3 = = =
Apr2 1209PM 352.812.7929 Ocala, FL Incoming, CL 4 - = =

 
verizon’ Billing period Mar 3, 2018 to Apr 2, 2018 | Account ht
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Talk activity - continued
Long Dist/

Date Time Number Origination Destination Min. Other Chgs Total
Apr 2 12:43PM 229.315.5375 Ocala, FL Incoming, CL 3 ~ _
Apr 2 101PM 352.812.7929 Belleview, FL Ocala, FL 9 = =
Apr2 10 PM = 352,812,7929 Ocala, FL Ocala, FL t _ -
Apr 2 17 PM =6(352.857.5427 Ocala, FL Ocala, FL 1 = is
Apr2 139 PM 352.857.5427 Ocala, FL Incoming, CL 1 _ ne
Apr 2 3:32 PM 352.895.8000 Ocala, FL Ocala, FL 4 - -
Apr 2 3:36PM 352.895.8000 Ocala, FL Ocala, FL _2 - -
Apr2 559PM 614.736 2723 Ocala, FL Columbus, OH 4 ~ oe
Apr 2 7318 PM 229.315.5375 Ocala, FL Incoming, CL 3 - -

 

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verizon’ Billing period Feb 3, 2018 to Mar 2, 2018 | Account # [an
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Airtime Long Dist/
Date Time Number Origination Destination Min. Charges Other Chgs Total
Febs3 SAO AM 352.304.7652 Ocala, FL VM Deposit, CL 2 ~ - -
Feb3 6:39PM 952.857.5427 Ocala, FL Incoming, CL 3 _ _ _
Feb 4 1219PM 352.857.5427 Ocala, FL Incoming, CL 3 - - _
Feb4 12:45PM 229.315.8146 Belleview, FL Incoming, CL 7 _ _ -
Feb 4 2:55PM 352.857.5427 Belleview, FL Incoming, GL 4 - _ -
Feb 4 5:56PM 352.812.7929 Ocala, FL Incoming, CL 35 - - -
Feb5 9:00 AM 352.322.3743 Ocala, FL Dunnellon, FL 2 _ “ -
Feb 5 SAO AM 352.322.3743 Ocala, FL Incoming, CL. 1 aa - -
Feb 5 70:48 AM 352.433.6636 Ocala, FL Incoming, CL 3 _ - -
Feb 5 11:02 AM 229.315.5375 Ocala, FL VM Deposit, CL 1 - -- -
Feb5 103 AM 352.433.6636 Ocala, FL Incoming, CL 1 - - ~
Feb 5 TL36 AM 229.315.5375 Ocala, FL Incoming, CL 4 - -- -
Feb5 12:15PM 352.922.3743 Ocala, FL Incoming, GL 1 _ -- -
Feb 5 1217 PM 352.433.6636 Ocala, FL Incoming, CL ie ~ - ~
Feb5 1538 PM 352.895.8000 Ocala, FL Incoming, CL 3 - - -
Feb 5 2:25PM 352.895.8000 Ocala, FL Incoming, CL 3 = - =
Feb5 38 PM 352.895.8000 Ocala, FL Incoming, CL 4 _ - -
Feb5 3:42PM 352.895.8000 Ocala, FL Incoming, CL 2 - -- =
Feb 5 6:43PM 352.433.6636 Ocala, FL Incoming, CL 1 ~ - --
Feb 5 6:46PM 229.315.5375 Ocala, FL Incoming, CL 2 - - -
Feb 6 9:38 AM 229.315.8146 Ocala, FL Incoming, CL 5 _ = -
Feb6 12:03PM 352.282.4500 Ocala, FL Ocala, FL 2 = 2 ee
Feb 6 12:05PM 770.877.0773 Ocala, FL Adairsvi, GA. 1 - -- ~
Feb6 12:07PM 7708770773 Ocala, FL Incoming, CL 3 - - -
Feb 6 1210PM 352.615.7001 Ocala, FL Ocala, FL 1 _ ~ -
Feb 6 1250PM 352.620,0643 Ocala, FL Ocala, FL 2 - - -
Feb6 12:54PM 352.895.8000 Ocala, FL Incoming, CL 14 _ - _
Feb6 1:25PM 352.895.8000 Ocala, FL Incoming, CL 4 - _ -
Feb6 1:45PM 352.895.8000 Ocala, FL Incoming, CL 2 - - -
Feb6 3.40PM 352.3513771 Ocala, FL Incoming, CL 1 = “~ =
Feb6 5:32PM 352.339.1019 Ocala, FL Gainesvi, FL 1 - -- -
Feb 6 5:37PM 352.216.6896 Ocala, FL Ocala, FL 1 -- - _
Feb 6 6:43PM 352.857.5427 Ocala, FL Incoming, CL 2 _ _ -
Feb7 842 AM 229.315.8146 Ocala, FL McRae, GA 5 - -- _
Feb7 9:07 AM 352.895.8000 Ocala, FL Ocala, FL 7 _ - -
Feb7 99 AM 229.315.8146 Ocala, FL Incoming, CL 9 - ~ --
Feb 7 9:29 AM 352.209.9370 Ocala, FL VM Deposit, CL 2 - ~-
Feb7 9:57 AM 352.680.3549 Ocala, FL Sirspgshrs, FL 3 _ - -
Feb7 1017 AM 229.315.8146 Ocala, FL McRae, GA 2 o - --
Feb 7 10:22 AM 229.315.8146 Ocala, FL Incoming, CL 1 - - -
Feb 7 10:32 AM 352.209,9370 Ocala, FL Incoming, CL 2 - -- -
Feb 7 1215 PM 917.655.5626 Ocala, FL New York, NY 2 - _ -
Feb 7 12:35 PM 352.615.7001 Ocala, FL Incoming, CL 2 sal = -
Feb 7 2:21PM 352.547.1077 Ocala, FL Ocala, FL 2 - _ --
Feb7 2:29PM 229.315.5375 Ocala, FL Incoming, CL 2 - ~ _
Feb7 3:39PM 407.690.4718 Ocala, FL Orlando, FL 2 - - --
Feb7 3:40PM 407.690.4718 Ocala, FL Incoming, CL 2 -- -- a

 
verizon’ Billing period May 3, 2018 to Jun 2, 2018 | Account ‘i
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Airtime Long Dist/
Date Time Number Origination Destination Min. Charges Other Chgs Total
May 3 B41AM 352.322.3743 Ocala, FL VM Deposit, CL 1 - - -
May 3 8:44 AM 352.895.8000 Ocala, FL Ocala, FL 10 - - -
May 3 856 AM 352.322.3743 Ocala, FL Incoming, GL 3 - - -
May 3 9:08 AM 407.435.0344 Ocala, FL Winterpark, FL 3 - _ -
May 3 10:33 AM 352.332.8850 Ocala, FL Gainesvl, FL 2 - - -
May 3 1254 PM 904.886.5302 Ocala, FL Jacksonvl, FL 1 -- - -
May 3 2:32PM 229.315.5375 Ocala, FL VM Deposit, CL 1 = 7 =
May 3 4:02PM 352.895.8903 Ocala, FL Ocala, FL § - _ a
May 3 4:32PM 229.515.5375 Ocala, FL VM Deposit, CL 1 - - -
May 3 6:05PM 352.857.5427 Ocala, FL Incoming, CL 3 ~ _ -
May 3 6:57PM 352.895.8000 Ocala, FL Ocala, FL 3 _ - --
May 3 8:02PM 229.315.5375 Ocala, FL Incoming, CL va - _ _-
May4 10:27 AM: 352.895.8000 Ocala, FL Incoming, CL 2 = = =
May 4 10:43 AM 856.533.4310 Ocala; FL Moorestown, NJ 1 -- - -
‘May 4 10:51AM: 856.533.4310 Ocala, FL Moorestown, NJ 1 - - -
May 4 1:22 AM 856.533.4310 Ocala, FL. Moorestown, NJ 1 - - --
May 4 TESO.AM 305.397.7088 Ocala, FL Miami, FL 3 - - -
May 4 1:41AM 386.418.6100 Ocala, FL Alachua, FL 1 - -- --
May4 142AM 352.374.5249 Ocala, FL Gainesvl, FL 1 _ = a
May 4 TL49 AM 856.533.4310 Ocala, FL Moorestown, NJ 1 - - -
May 4 117PM 561.706.4793 Beverly HI, FL VM Deposit, CL 2 fe ss =
May 4 2:00PM 561.706.4793 Lecanto, FL VM Deposit, CL 1 _ _ _
May 4 2:06PM 561.706.4793 Lecanto, FL Incoming, CL 3 s <i =
May 4 4:03PM 229.315.5375 Ocala, FL Incoming, CL 2 - - -
May 4 4:28PM 352.922.3743 Ocala, FL Dunnellon, FL 2 - - --
May 4 4:39PM 352.895.8000 Ocala, FL Ocala, FL 3 - - ad
May 4 4:43PM. 734.256.7391 Ocala, FL Wis, Ml 2 = es a
May 4 4:57PM 352.895.3731 Ocala, FL VM Deposit, CL 2 a - =
May 4 5:21PM 352.427.1732 Ocala, FL Ocala, FL 1 - - -
May 4 6:22PM 352.843.1133 Ocala, FL VM Deposit, CL 2 - - =
May 4 6:14PM 352.616.2380 Ocala, FL Incoming, CL 1 - v -
May 4 6:15PM 352.616.2380 Ocala, FL Incoming, CL 1 = = =
May 4 7:05PM 229,315.5375 Ocala, FL Incoming, CL 1 _ - =
May 4 8:06 PM_ 352.895.8000 Ocala, FL Incoming, CL 5 = = =
May 4 8:11PM 888.729.6339 Ocala, FL Toll-Free, CL 2 - - -
May 4 8:14PM 888.729.6339 Ocala, FL Toll-Free, CL 2 - - -
May 4 8B PM 352.895.8000 Ocala, FL Ocala, FL 31 ~ - -
May 5 8:28AM 352.616.2380 Ocala, FL Incoming, CL 1 ~ ~- =
May 5 8:46 AM 352.433.6636 Ocala, FL Ocala, FL 4 - = -
May 5 901AM 352.258,1114 Ocala, FL Gainesvl, FL 3 - a _
May 6 912 AM 352.857.5427 Ocala, FL VM Deposit, CL 1 - - -
May 6 9:13 AM 352.857.5427 Ocala, FL VM Deposit, CL 1 “ = oe
May 6 914 AM 352.857.5427 Ocala, FL VM Deposit, CL 1 wa ws -
May 6 914 AM 352.857.5427 Ocala, FL VM Deposit, CL 1 - = =
May 6 9:15 AM 352.857.5427 Ocala, FL VM Deposit, CL 1 Be - ”
May 6 9:16 AM 352.857.5427 Ocala, FL VM Deposit, CL 1 - ~ -
May 6 96 AM 352.857.5427 Ocala, FL VM Deposit, CL 1 - - -

 
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Talk activity - continued
Airtime Long Dist/

Date Time Number Origination Destination Min. Charges Other Chgs Total
May 7 2:28PM 352.895.8000 Ocala, FL Ocala, FL 4 = = zm
May 7 3:45PM 352.303.5472 Ocala, FL Incoming, CL 1 om = =
May 7 3:46PM 352.895.8000 Ocala, FL Incoming, CL 6 ~ _ aw
May 7 7:07 PM 229.315.5375 Ocala, FL Incoming, CL 1 ~ ~ ~
May 8 8:15 AM 352.493.6636 Ocala, FL Incoming, CL 2 = = ~
May 8 8:36 AM 352.427.1732 Ocala, FL Incoming, CL 1 = = we
May 8 B:41AM 352.732.2458 Ocala, FL Incoming, CL 1 _ = =
May 8 946 AM 229.315.8146 Ocala, FL Incoming, CL 3 - _ =
May8 9:27AM 856.533.4310 Ocala, FL Moorestown,Ni 2 - - -
May 8 957 AM 4359018722 Ocala, FL Incoming, CL 2 _ - -
May 8 10:44 AM 352.236.0595 Ocala, FL Incoming, CL 6 - _ -
May 8 100PM 352.322.3743 Gainesvill, FL Dunnellon, FL 2 ~ - =
May 8 120PM 352.322.3743 Gainesvill, FL Dunnellon, FL 2 ~ - —
May 8 2:20PM 352.427.1732 Gainesvill, FL VM Deposit, CL 2 ~ - -
May 8 2:23PM 352.427.1732 Archer, FL Incoming, CL 1 “- ~ =
May 8 3:71PM 352.493.6636 Williston, FL Incoming, CL 2 - - -
May 8 6:32PM 229.315.5375 Ocala, FL Incoming, CL 1 - - =
May 9 8:38 AM 352.895.8000 Ocala, FL Incoming, CL 7 - - _
May 9 9:05 AM 352.895.8000 Ocala, FL Incoming, CL 5 - ~ ~
May9 9312 AM 352.427.1587 Ocala, FL Ocala, FL 12 - _ -
May 9 9:37 AM 850.487.1395 Ocala, FL Tallahasse, FL 8 sp eS a
MayS 10:07 AM 352.303.5472 Ocala, FL VM Deposit, CL 1 ~ ~ =
May9 10:34 AM 352.895.8000 Ocala, FL Incoming, CL 4 - _ ~
May9 10:39 AM 856.533.4310 Ocala, FL Moorestown, NU. 1 -- -- -
May9 10:41AM 866.325.4516 Ocala, FL Toll-Free, CL 4 _- - -
May9 10:48AM 207.795.5273 Ocala, FL Lewiston, ME 4 = - --
May9  1051AM 207.755.4200 Ocala, FL Lewiston, ME 6 “ Ss oe
May9 1057 AM 352.812.7929 Ocala, FL VM Deposit, CL 1 - = =
May9 10:58AM 352.812.7929 Ocala, FL Incoming, CL 3 _ _ -
May9  148AM 352,803.5472 Ocala, FL Bushnell, FL 2 _ - -
May9  TLSOAM 352.322.3743 Ocala, FL Dunnellon, FL 1 = = =
May.9: ©12:12.PM: 207.755.4200 Ocala, FL Lewiston, ME: 2 zs es =
May9 12:42PM 856.533.4310 Ocala, FL Incoming, CL 14 ss = a
May 9 100 PM 352.895.3731 Ocala, FL Ocala, FL 3 ~ = =
May 9 1:03PM 352.895.3731 Ocala, FL Incoming, CL 3 -- ~ ~
May 9 415PM 352.690.7323 Ocala, FL Ocala, FL 2 ~ ~ ~
May 9 417PM 352.620.0337 Ocala, FL Ocala, FL 1 ~ - ~
May 9 418 PM 352.690.7921 Ocala, FL Ocala, FL 1 = = =
May 9 1:21PM 352.690.7921 Ocala, FL Incoming, CL 10 - - -
May 9 2:57PM 352.895.3731 Ocala, FL Ocala, FL { - ~ ~-
May 9 4:03 PM 352.895.8000 Ocala, FL Incoming, CL 7 ~ = -
May 9 4:26PM 352.308.5472 Ocala, FL VM Deposit, CL 1 - -_ ~
May 9 5:18PM 352.895.8000 Ocala, FL Incoming, CL 4 = = =
May 9 5:43PM 352.308.5472 Ocala, FL Bushnell, FL 9 - ae =
May 9 5:52PM 352.303.5472 Ocala, FL Incoming, CL 8 _ - _

 
verizon’ Billing period May 3, 2018 to Jun 2, 2018 | Account Bp

Tanya Batten

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Talk activity - continued

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Airtime Long Dist/
Date Time Number Origination Destination Min. Charges Other Chgs Total
May 9 6:07PM 352.812.7929 Ocala, FL Ocala, FL 24 - - -
May 9 8:35PM 352.857.5427 Ocala, FL Incoming, CL 2 - = -
May 9 9:14 PM 352.895.8000 Ocala, FL Incoming, CL 1 -- a -
May 9 9:22PM 352.895.8000 Ocala, FL VM Deposit, CL 1 ~ - ~_
May 9 10:10PM 352.895.8000 Ocala, FL VM Deposit, CL 1 _ - _
May10 8:34 AM 207.755.4200 Ocala, FL Lewiston, ME. 1 = = =
» May.108:57 AM..856.533.4310. Ocala, FL MoorestownyNJ 2 -- - -
* May 10 859 AM 352.322.3743 Ocala, FL Dunnellon, FL 10 -- - -
May 10 976 AM 352.812.7929 Ocala, FL Ocala, FL 9 _ - -
May 10 9:24 AM 352.369.4044 Ocala, FL Ocala, FL 1 = = _
May 10 1:32AM 229.315.5375 Ocala, FL Incoming, CL 1 - - -
May 10 2:07 PM 352.303.5472 Ocala, FL Incoming, CL 23 - - -
May 10 3:26PM 229.315.5375 Ocala, FL McRae, GA 1 ~- - -
May 10 4:17PM 952.322.3743 Ocala, FL Dunnellon, FL 2 - - =
May 10 6:26PM 352.812.7929 Ocala, FL Ocala, FL 2 -- = =
May 10 6:37PM 352.322.3743 Ocala, FL Incoming, CL 1 - _ _
May 10 8:28PM 352.817.6274 Ocala, FL Incoming, CL 1 - ao --
May 10 9:32PM 352.854.2866 Ocala, FL Ocala, FL 2 -- - ~
May 11 9:52 AM 362.821.0037 Ocala, FL Weirsdale, FL 1 - - -
May 11 10:03 AM 352.843.3087 Ocala, FL Ocala, FL 2 - -- -
May TI 10:08 AM 352.207.3629 Ocala, FL Ocala, FL 2 -- _ =
May 11 7009 AM 352.427.1732 Ocala, FL Incoming, CL 1 -- - -
May 11 10:15. AM» 808.298.2999 Ocala, FL Wailuku, Hi. 2 - -- -
May 11 4:27PM 904.438.8813 Ocala, FL Jacksonvl, FL 10 - = -
May 11 4:37PM 352.433.6636 Ocala, FL Ocala, FL 1 - - =
May 11 6:14PM 352.615.0976 Ocala, FL Ocala, FL 1 _ -- =
May 11 919PM 352.857.5427 Ocala, FL Incoming, CL 2 - - _
May 11 9:36 PM 352.857.5427 Ocala, FL Incoming, CL 2 - - -
May 11 9:55PM 352.857.5427 Ocala, FL Incoming, CL 5 - - _
May13 10:14AM 229,315.5375 Ocala, FL Incoming, CL 5 _ - --
May 13 3:59PM 352.274.0005 Ocala, FL VM Deposit, CL 1 - = ay
May 13 4:00 PM 352.274.0006 Ocala, FL VM Deposit, CL 1 - ~ _
May 13 419PM 229.315.5375 Ocala, FL Incoming, CL 4 =~ ~ -
May 13 4:36PM 229.315.5375 Ocala, FL Incoming, GL 1 - oa =
May 14 &:23 4M 352.895.8000 Ocala, FL VM Deposit, CL 1 -- - aa
May 14 8:23 AM 352.322.3743 Ocala, FL Dunnellon, FL 4 - - -
May 14 8:38 AM 352.895.8000 Belleview, FL Incoming, CL 6 - - --
May 14 B55 AM 352.322.3743 Summerfiel, FL Dunnellon, FL 3 - -- -
May14 = 9:37 AM 352.895.8000 Weirsdale, FL VM Deposit, CL 1 - “ =
May 14 938 AM 352.322.3743 Weirsdale, FL Dunnellon, FL 3 - - -
May 14 9:41AM 352.895.8000 Weirsdale, FL Incoming, CL 2 - -- -
May 14 9:55AM 352.812.7929 Weirsdale, FL Ocala, FL 44 -- - -
May 14 1:02 AM 229.315.5375 Belleview, FL Incoming, CL 1 _ - _
May 14 12:05 PM 352.322.3743 Ocala, FL VM Deposit, CL 1 _ _ -
May14 12:08PM 352.895.8000 Ocala, FL Incoming, CL 4 - = es

 
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Tanya Batten
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Talk activity - continued

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Airtime Long Dist/

Date Time Number Origination Destination Min. Charges Other Chgs Total
May14. 87 PM_ 352.322.0520 Ocala, FL VM Deposit, CL 1 - = =
May 14 6:36PM 352.857.5427 Ocala, FL Incoming, CL 1 - ~ iis
May 15 9:03 AM 352.322.3743 Fort Mc CO, FL VM Deposit, CL 1 - = _
May 15 9:05 AM 352.322.3743 Fort Mc CO, FL Incoming, CL 1 -- ~ -
May 15 9:24 AM 952.622.3214 Silver Spr, FL Ocala, FL 2 - i <
May15 10:04AM 352.922.3743 Silver Spr, FL Dunnellon, FL 1 - - --
May15 ‘OA3AM 352.822.3743 Silver Spr, FL Dunnellon, FL 1 - - -
May15 10:33AM 352.322.3743 Ocala, FL Dunnellon, FL 1 - _ =
May15 1051AM 352.615.0976 Ocala, FL Ocala, FL 1 - - =
May 15 141PM 352.216.8909 Ocala, FL Ocala, FL 2 - - ~
May 15 1:43PM = 229,315.5375 Ocala, FL Incoming, CL 4 - = a
May 15 3:45PM 352.895.8000 Ocala, FL Incoming, CL 2 - - _
May15 3:49PM 352.895.8000 Ocala, FL Incoming, CL 2 = = a
May 15 4:15PM 352.433.6636 Ocala, FL Incoming, CL 1 - = =
May 15 4:54PM 352.895.8000 Ocala, FL Ocala, FL 2 - ~- =
May 15 5:07PM 352.895.8000 Ocala, FL Incoming, CL 6B _ - -
May 15 5:47 PM* 8006228727 Ocala, FL Toll-Free, CL 5 = am =
“May 15) §52 PM: 800.622.8727 Ocala, FL Toll-Free, CL: 6 - + =
May 15 6:06PM 352.433.6636 Ocala, FL Incoming, CL 1 ~ - =
May 15 6:07 PM 352.433.6636 Ocala, FL Incoming, CL 1 ~ = =
May 15 6:46PM 352.433.6636 Ocala, FL Ocala, FL 1 -- ~ =
May 15 6:48PM 229.315.8146 Ocala, FL Incoming, CL 21 - ~_ -
May16 11:04AM 352.895.8000 Ocala, FL Incoming, CL 22 _ ie =
May16 TMBAM 229.315.5975 Ocala, FL VM Deposit, CL 1 - = a
May16 THBAM 229.315.5375 Ocala, FL Incoming, CL V - - _
May16 12A0PM 352.304.7652 Ocala, FL Ocala, FL 20 - a a
May 16 103PM 352.812.7929 Ocala, FL Ocala, FL 3 - - -
May 16 117 PM 352.895.8000 Ocala, FL Incoming, CL g = = +
May 16 140PM 362.732.8531 Ocala, FL Incoming, CL 2 ~ ~ =
May 16 147 PM =6352.322.3743 Ocala, FL Dunnellon, FL 3 - - -
May 16 209PM 352.435.6636 Ocala, FL Ocala, FL 1 _ - -
May 16 229PM 352.895.8000 Ocala, FL Incoming, CL 9 - - _-
May 16 250 PM 352.895.8000 Ocala, FL Incoming, CL 4 = _ _
May 16 259PM 352.369.4663 Ocala, FL Ocala, FL 2 ~ as ia
May 16 8:00PM 352.592.7513 Ocala, FL Weekichspg, FL 5 - = a
May 16 4:08 PM 229.315.5375 Ocala, FL Incoming, CL 2 - - -
May 16 4:42PM 352.440.1182 Ocala, FL Incoming, CL 23 _ _- ~
May 16 5:21PM 352.895.8000 Ocala, FL Ocala, FL 5 - ae 2
May 16 5:26PM 352.322.3743 Ocala, FL Dunnellon, FL 4 - _ -
May 16 5:43 PM 352.895.8000 Ocala, FL Incoming, CL 1 - = Fad
May 16 7:00PM 352.895.8000 Belleview, FL VM Deposit, CL 1 - - ais
May 16 7:01PM 352.895.8000 Belleview, FL Incoming, CL B - - -
May 16 7:18PM 352.895.8000 Ocala, FL Incoming, CL 12 -- -- -
May 17 856 AM 352.322.3743 Ocala, FL VM Deposit, CL 1 - - -
1 = - os

May 17 BS9AM 352.922.3743 Ocala, FL VM Deposit, CL

 
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Tanya Batten

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Talk activity - continued
Airtime Long Dist/
Date Time Number Origination Destination Min. Charges Other Chgs Total
May24 TI2AM 352.812.7929 Ocala, FL Incoming, CL 26 - - -
May 24 t2a12PM 352.572.3900 Ocala, FL Ocala, FL 1 _ = -
May24 12:24PM 352.895.8000 Ocala, FL Incoming, CL 3 = - _
May 24 2:04PM 352.895.8000 Ocala, FL Incoming, CL 4 - - _
May24 2:52PM 888.729.6339 Ocala, FL Toll-Free, CL 3 -- _ -
May 24 2:40PM 352.895.8000 Ocala, FL Ocala, FL 10 ae _ -
May 24 254 PM 973.809.7317 Ocala, FL. Caldwell, NJ 1 -- - -
May24 2:58PM 352.804.4887 Ocala, FL Ocala, FL 3 - - _
May 24 3:03PM 352.812.3049 Ocala, FL Ocala, FL 1 - = -
May 24 3395PM 352.895.8000 Ocala, FL Incoming, CL 1 _ - -
May 24 3:23PM 352.440.1182 Ocala, FL Incoming, CL 10 -- - --
May 24 3:34PM 352.812.3073 Ocala, FL Ocala, FL 1 - _ _
May 24 3:39PM 352.895.8000 Ocala, FL Incoming, CL 1 _ = ~
May 24 3:39PM 229.315.5375 Ocala, FL Incoming, CL 4 _ _ -
May 24 3:43PM 352.812.7929 Ocala, FL Ocala, FL er - - -
May24 4:17PM 352.613.4460 Ocala, FL Crystalriv, FL 1 - ~ -
May 24 4:49PM 352.613.4460 Ocala, FL Crystalriv, FL 1 _ - -
May 24 756 PM = 229.315.8146 Ocala, FL McRae, GA 22 -- -- -
May24 8:30PM 229.315.8146 Ocala, FL Incoming, CL 25 - = -
May 25 818 AM 352.895.8000 Ocala, FL Incoming, CL 21 = ~ -
May25 8-41AM 865.531.0488 Ocala, FL Knoxville, TN 3 - -_ =
May 25 B51AM 352.922.3743 Ocala, FL Dunnellon, FL 4 - - --
May 25 9:08 AM 229.315.8146 Ocala, FL McRae, GA 4 - ~- -
May25 1123.AM 352.895.8000 Ocala, FL Incoming, CL 2 ~ ~
May 25 T219PM 229.315.5375 Ocala, FL McRae, GA 1 - ~ -
May25 12:33PM 352.857.5427 Ocala, FL Incoming, CL 9 ~ - _
May25 1:35PM 920.563.7305 Ocala, FL Ftatkinson, WI 4 - - -
May25 140PM 352.895.8000 Ocala, FL Incoming, CL 4 ~ -- -
May 25 1:44PM 856.533.4310 Ocala, FL Moorestown, NJ 2 - - -
May 25° 1:46PM 207.755.4200 Ocala, FL Lewiston, ME 1 - - --
May 25° 1:51PM) 207.755.4200 Ocala, Fl: Lewiston; ME 1 - - _
May 25") 154 PM. 207.755.4200 Ocala, FL Lewiston, ME 1 - - ~
pMay25 158PM 207.755.4200 Ocala, FL Lewiston, ME 2 = - -
May.25....2:00 PM_ 856.533.4310 Ocala, FL Moorestown, NJ 1 -- - -
“May25 2.01PM 352.895,8000 Ocala, FL Ocala, FL 1 a es “
May25 24PM 973.809.7317 Ocala, FL Caldwell, NJ 2 - ~ -
_.May25 — 216PM 207.7554200 Ocala; FL Lewiston; ME 1 -- - -
“May 25 218PM 229.355375 Ocala, FL Incoming, CL 1 - - -
May 25 218 PM 229.315.5375 Ocala, FL McRae, GA 3 - - -
May 25 2:21PM 352.362.3418 Ocala, FL Ocala, FL 2 -- - _
May 25 230PM 352.895.8000 Ocala, FL VM Deposit, CL 1 - _ _
May 25 2:33 PM 352.895.8000 Ocala, FL Incoming, CL 3 - - -
May 25 2:52PM 352.857.5427 Ocala, FL Ocala, FL 1 ~ - a
May 25 4:32 PM 352.895.8000 Ocala, FL Incoming, GL 6 ~ = ~
May 25 4:53PM 352.895.8000 Ocala, FL Incoming, CL 1 _ ~ -

 

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Tanya Batten
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Talk activity - continued

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Airtime Long Dist/
Date Time Number Origination Destination Min. Charges Other Chgs Total
May 29 3:44PM 229.315.5975 Wildwood, FL Incoming, CL 4 - - -
May 29 3:49PM 229.315.5375 Wildwood, FL Incoming, CL 1 - - -
May29 4:07PM 352.812.7929 Webster, FL Incoming, CL 31 - -- -
May 29 5:01PM 352.322.3743 Lutz, FL Incoming, CL 5 -- -- -
May 29 6:03 PM 352.857.5427 The Villag, FL Incoming, CL 16 a - --
May 29 753 PM 229.315.5375 Ocala, FL Incoming, CL 2 a - “
May 29 BAO PM 229.315.5375 Ocala, FL Incoming, CL 1 - - -
May30 8:07 AM 352.895.8000 Ocala, FL Ocala, FL n - - -
May 30 BAB AM 352.822.5743 Ocala, FL Dunnellon, FL 21 - _ -
» May 30 9:17. AM...865.531.0488; Ocala; FL Knoxville, TN 3 - _ -
May30 10:36AM 352.291.4085 Dunnellon, FL. Incoming, CL 1 -- -- -_
May30 12:02PM 229.315.5375 Ocala, FL Incoming, CL 2 - - _
May30 12:05PM 229.315.8146 Ocala, FL McRae, GA 9 - = -
May30 133PM 229.315.8146 Belleview, FL Incoming, CL 5 - - =
May30 12:17PM 352.895.8000 Belleview, FL Incoming, CL 6 - ~- -
May 30 1:29PM = 352.812.7929 Ocala, FL Ocala, FL 6 - - -~-
May 30 217 PM 229.315.8146 Belleview, FL Incoming, CL 6 - _ =
May 30 3:24PM 806.372.9485 Ocala, FL Incoming, CL 2 - - -
May 30 3:46PM 352.812.7929 Ocala, FL Incoming, CL 24 _ - ~
May30 4:31PM 352.895.7904 Ocala, FL Ocala, FL 7 -- -~ --
May30 4:44PM 229.3155375 Ocala, FL Incoming, CL 3 ~ - ~
May30 6:04PM 352.857.5427 Ocala, FL VM Deposit, CL 1 - - -
May30 608PM 352.857.5427 Ocala, FL Incoming, CL 2 - - -
May 30 653 PM 229.315.8146 Ocala, FL Incoming, CL 1 - - _-
May 30 819 PM 229.315.5375 Ocala, FL McRae, GA 1 a - -
May 31 8:19,AM... 808.372.9485 Ocala, FL Honolilu, Hl 2 - - -
May 31 8:22 AM 352.895.8000 Ocala, FL VM Deposit, CL 1 - - _
May 31 8:27 AM 352.895.8000 Ocala, FL Incoming, CL T -- - -
May 31 8:44 AM 800.530.7999 Ocala, FL Toll-Free, CL 1 _ - _
May 31 8:55 AM 800.530.7899 Ocala, FL Toll-Free, CL 1 - - “
May 31 9:08 AM 800530,7999 Ocala, FL Toll-Free, CL 3 -- - _
May 31 12:36PM 352.857.5427 Ocala, FL Incoming, GL 18 ~ -- ~
May 31 1254 PM 352.322.3743 Ocala, FL Dunnellon, FL 5 - - ~
May 31 103PM 352.895.8000 Ocala, FL Incoming, CL 12 _- - ~-
May 31 114 PM 859.358.3635 Ocala, FL Richmond, KY 2 ~ - --
May 31 2:14PM 352.895.8000 Ocala, FL Incoming, GL n _ - _
May 31 3:03PM 229.315.5375 Dunnellon, FL Incoming, CL 1 -- - -
May 31 S31 PM 973.809.7317 Dunnellon, FL VM Deposit, CL 1 - - -
May 31 3:22PM 229.315.5375 Dunnellon, FL McRae, GA 1 - - -
May 31 3:46PM 352.440.1182 Ocala, FL Incoming, CL 30 _ a -
May 31 4:24PM 352.440.1182 Ocala, FL Old Town, FL 8 _ = -
May31 4:31PM 352.322.3743 Ocala, FL Dunnellon, FL 2 - - -
May 31 5:04PM 352.322.3743 Ocala, FL VM Deposit, CL 1 - - -
May 31 571PM 229.015.5375 Ocala, FL Incoming, GL 1 - - _
May 31 557 PM 352.322.3743 Ocala, FL VM Deposit, CL 2 - - -

 
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Estimated top activities
> sci Qe .
Web&Apps |—E% Video
=
54% A 28% 6%
Smartphone line access (May 3 - Jun 2) $20.00
Device payment 5 of 24 ($1,149.99/24mo) $47.91
$910.29 remaining after this month (Agreement 1252429976)
Verizon Cloud 25 GB (May 3 - Jun 2) $2.99
Total Mobile Protection (May 3 - Jun 2) $13.00
$83.90
hein
f = }
_&| Surcharges
, no
Regulatory Charge $0.23
Administrative Charge $1.29
Fed Universal Service Charge $0.39
$1.91
ERT d tf
ened
FL State 911 Fee $0.40
FL. Communications Service Tax $1.13
Marion Cnty Com Srvc Tax $0.33

 

$1.86

Surcharges and taxes are charged per line. A detailed copy of your bill is available in My Verizon.
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Tanya Batten

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Talk activity

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Airtime Long Dist/
Date Time Number Origination Destination Min. Charges Other Chgs Total
Apr 3 B31AM 352.322.3743 Ocala, FL Incoming, CL 4 - - -
Apr3 THOAM 352.440.1182 Ocala, FL Incoming, CL 1 - - ~
Apr 3 12:38PM 352.857.5427 Ocala, FL Ocala, FL 22 - ~ -
Apr 3 103PM 229.315.5375 Ocala, FL Incoming, CL 1 - - -
Apr3 2:43 PM__800.488,8890 Ocala, FL Toll-Free, CL 3 - - -
Apr 3 3:11PM 352.322.0053 Ocala, FL Dunnellon, FL 3 - - -
Apr 3 3:14PM 352.342.4819 Ocala, FL VM Deposit, CL 1 - - -
Apr 3 3:15PM 352.441.1605 Ocala, FL Williston, FL 2 = _ -
Apr 3 3:45PM 954.560.1007 Ocala, FL Ftlauderal, FL 2 - - -
Apr3 853PM 352.732.2458 Ocala, FL Ocala, FL 4 - - _
Apr 3 3:57PM 352.512.0000 Ocala, FL Ocala, FL 4 - - -
Apr 3 4:01PM 352.440.1182 Ocala, FL _ Old Town, FL 21 - ~ -
Apr 3 4:31PM 352.875.2966 Ocala, FL Ocala, FL 2 ~ = --
Apr 3 4:35 PM 352.209.7171 Ocala, FL Ocala, FL 3 - - ~
Apr 3 438PM 352.274.4252 Ocala, FL Ocala, FL 3 - = -
Apr 3 6:08 PM 352.857.5427 Ocala, FL Incoming, CL 7 - - _
Apr 3 6:39PM 352.817.6809 Ocala, FL Ocala, FL 2 - _ =
Apr 3 7:03PM 352.789.0186 Ocala, FL Ocala, FL 2 - - _
Apr 4 8:37AM 352.291.4085 Ocala, FL Incoming, CL 6 - - ~
Apr 4 850 AM 352.789.0186 Ocala, FL Ocala, FL 2 - - ~
Apr 4 940 AM 229.315.8146 Ocala, FL McRae, GA 1 = = =
Apr 4 QAM 229.315.8146 Ocala, FL Incoming, CL 19 - ~ _
Apr 4 1017 AM 352.857.5427 Ocala, FL Ocala, FL 21 - _ -
Apr 4 10:47 AM 352.857.5427 Ocala, FL Ocala, FL 1 - - _
Apr 4 THOS AM 352.322.3743 Ocala, FL Incoming, CL 3 _ “ -
Apr 4 1203 PM 352.857.5427 Ocala, FL Incoming, CL 2 - - _
Apr 4 1206 PM 352.322.3743 Ocala, FL - VM Deposit, CL 1 - - ~
Apr 4 1209 PM 352.322.3743 Ocata, FL Incoming, CL 10 - - _
Apr 4 1253 PM 352.857.5427 Dunnellon, FL Incoming, CL 1 - - -
Apr 4 121PM 352.857.5427 Dunnellon, FL VM Deposit, CL 1 _ - ~
Apr 4 127PM 352.857.5427 Dunnellon, FL Incoming, CL 2 - ~ _
Apr 4 136 PM 352.857.5427 Dunnellon, FL. Ocala, FL 2 - - -
Apr 4 2:12PM 352.369.7834 Ocala, FL Ocala, FL 2 - = ~
Apr 4 2:17PM 352.857.5427 Ocala, FL Ocala, FL 8 - _ -
Apr 4 2:47PM 352.369.7800 Ocala, FL Incoming, CL 1 - - -
Apr 4 3:47PM 352.857.5427 Ocala, FL Incoming, CL 2 _ - ~
Apr 4 4:02PM 352.369.7800 Ocala, FL Ocala, FL 1 - - -
Apr 4 4:02PM 352.369.7834 Ocala, FL Ocala, FL 2 - _ _
Apr 4 470PM 352.369.7800 Ocala, FL Incoming, CL 4 - - -
Apr 4 489PM 229.315.8146 Ocala, FL Incoming, CL n _ - ~
Apr.4 459, PM’ 865.5310488 Ocala, FL Knoxville, TN n - - -
Apr.4 5:44PM 865.531.0488 Ocala, FL Knoxville; TN 1 = _ =
Apr 4 5:36PM 844.217.5290 Ocala, FL Incoming, CL 1 _ - =
Apr 4 5:36PM 352.857.5427 Ocala, FL Incoming, CL 1 ~ ~ _
Apr4 6:35PM 800.530.7999 Ocala, FL Toll-Free; CL 1 - - _
Apr 5 B17 AM 800530.7999 Ocala; FL Toll-Free, CL | 1 = - -
Apr 5 8:19AM 352.322.3743 Ocala, FL Incoming, CL n - - _

 
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Tanya Batten
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Talk activity - continued

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Airtime Long Dist/

Date Time Number Origination Destination Min. Charges Other Chgs Total
© Aprs 8:30 AM 800530.7999 Ocala, FL Toll-Free, CL 2 - -- -
Apr 5 8:35 AM 352.812.7929 Ocala, FL Incoming, CL 24 a ae =
Apr 5 9:04 AM 352.812.7929 Ocala, FL Ocala, FL 53 _ - =
Apré 9:24 AM 877.711.3662 Ocala, FL Incoming, CL 1 - _ a
Apr 5 1057 AM 352.322.3743 Ocala, FL Incoming, CL 1 _ - -
‘ Aprs 10318 AM 800.530.7999 Ocala, FL Toll-Free, CL 4 w- - -
Apr 5 3:49PM 352.857.5427 Ocala, FL Incoming, GL 5 - - -
Apr5 3:52PM 352.236.0511 Ocala, FL Incoming, CL 8 - - -
Apr 5 4:71PM 352.857.5427 Ocala, FL Incoming, CL 8 - - -
Apr 5 7:33PM 352.433.6636 Ocala, FL Incoming, CL 1 - _ _
Apr 6 8:50 AM 352.512.9996 Ocala, FL Ocala, FL 4 - - --
Apr 6 918 AM 352.322.3743 Ocala, FL Dunnellon, FL 2 - - -
Apr 6 919 AM 352.322.3743 Ocala, FL Dunnellon, FL 1 - - -
Apr 6 9:27 AM 352.895.8000 Ocala, FL Ocala, FL 2 - -- _-
Apr6 9:28 AM 352.322.3743 Ocala, FL Dunnellon, FL 9 _ - _
Apr 6 10:34 AM 229.315.8146 Ocala, FL McRae, GA 3 - - _
Apr 6 10:36 AM 352.895.8000 Ocala, FL Incoming, CL 4 - - -
Apr 6 10:39 AM 352.322.3743 Ocala, FL Dunnellon, FL 6 - _ -
Apr.6. 10:45 AM 860.798.5888 Ocala, FL Hartford,CT — 4 os ae =
Apré 40:49'AM 352.322.3743 — Ocala, FL VM Deposit, CL 1 = = =
Apr 6 10:51AM 352.895.8000 Belleview, FL Ocala, FL 2 - - -
( Apré 1053 AM 229.315.8146 Belleview, FL Incoming, CL 3 “ = =
Apr6 112 AM 860.798.5888 Belleview, FL Hartford, CT 1 — - _
Apr 6 TW21AM 352.857.3026 Ocala, FL Ocala, FL 1 - - -
Apr 6 127 AM 352.895.8000 Ocala, FL Incoming, CL 2 - ~ ~
Apr6 TSS AM 229.315.8146 Ocala, FL Incoming, CL 3 - -- =
Apr6 1215 PM 352.322.3743 Ocala, FL Incoming, CL 2 _ _ -
Apr6 1216 PM 352.209.7171 Ocala, FL Incoming, CL 1 - _ -
Apr6 12:20 PM 352.615.0976 Ocala, FL Ocala, FL ac} - _ --
Apr 6 12:32 PM 352.433.6636 Belleview, FL Incoming, GL 3 -- > -
Apr 6 1232 PM 352.433.6636 Belleview, FL Ocala, FL 2 ~ - -
Apr 6 12:35 PM = 352.512.0000 Summerfiel, FL Ocala, FL 1 ~ -- -
Apr 6 11PM 352.857.5427 Summerfiel, FL Ocala, FL 7 - ~ -
Apr 6 121PM = 352.2914085 Belleview, FL Incoming, CL 6 _ - -
Apr 6 1:30PM 352.857.3026 Belleview, FL Ocala, FL 4 - =- -
Apr 6 1:34PM 352.615.0976 Ocala, FL Ocala, FL 1 - _ --
Apr 6 200 PM 352.427.1587 Ocala, FL Ocala, FL 3 - - _
Apr 6 3:13PM 352.895.8000 Ocala, FL Incoming, CL 3 - - -
Apr 6 3:21PM 352.812.7929 Ocala, FL Incoming, CL 9g ~ _ -
Apr 6 3:31PM 352.812.7929 Ocala, FL Incoming, CL - - -- 7
Apr 6 3:45PM 352.812.7929 Ocala, FL Ocala, FL 21 - _ _
Apr 7 8:36 AM 352.817.6809 Ocala, FL Ocala, FL 2 - - --
Apr 7 8:38 AM 352.812.3073 Ocala, FL Ocala, FL 3 - -- --
Apr 7 935 AM 352.433.6836 Ocala, FL Ocala, FL 1 -- - -
Apr 7 7:04PM 229.3155375 Ocala, FL Incoming, CL 1 - ~ ~

 
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Talk activity - continued
‘ Airtime Long Dist/
Date Time Number Origination Destination Min. Charges Other Chgs Total
Apr7 7:08 PM 352.857.5427 Ocala, FL Ocala, FL 2 - ~ sks
Apr B 8:38 AM 352.817.6809 Ocala, FL Ocala, FL 2 - ~ =
Aprs 8:58 AM 352.817.6809 Ocala, FL Ocala, FL 1 - = =
Apr 8 859 .AM 352.817.6809 Ocala, FL Incoming, CL 2 _- = a
Apr 8 10:42 AM 229.315.5375 Ocala, FL Incoming, CL 4 - - ~
Apr 8 1047 AM 229.515.8146 Ocala, FL Incoming, CL 6 - “ =
Apr 8 1052 AM 352.322.3743 Ocala, FL Dunnelion, FL 4 - - =
Apr 8 2:40PM 352.304.7652 Ocala, FL Ocala, FL 5 - - =
Apr9 852 AM 352.895.8000 Ocala, FL Ocala, FL a _ - a
Aprg9 9:06 AM 352,322.38743 Ocala, FL Dunnellon, FL 3 - = —
Apr’ 973 AM 352.812.7929 Ocala, FL Ocala, FL 6 - = =
Apr9 9:43 AM 352.427.1587 Ocala, FL Ocala, FL 1 - ~ -
Aprs 10:00 AM 352.427.8659 Ocala, FL Ocala, FL 2 _ - =
Apr 9 10:03 AM 352.299.1155 Ocala, FL Ocala, FL 1 - as =
Aprg 10:04 AM 352.427.1587 Ocala, FL Ocala, FL 2 - sa me
Apr 9 10:08 AM 352.874.1504 Ocala, FL 2 _ ~ ie
Apr 9 70:15 AM 352.874.1504 Ocala, FL 1 - ~ los
{ Apr9 109 AM 508.264.1955 Ocala, FL 2 = = Fa
Apr 9 10:21AM 352.427.1587 Ocala, FL 1 - HS ae
Apr 9 10:22 AM 352.427.1587 Ocala, FL 2 ~ li is
Aprs 10:27 AM 352.274.5052 Ocala, FL 2 _ ~ we
Apr9 10:34 AM 352.694.4602 Ocala, FL 1 - = ee
Apr 9 12:32 PM 352.512.0000 Belleview, FL 1 - _ is
Aprs 108 PM 352.427.3333 Belleview, FL 2 ~ _ -
Apr 9 1:40PM 352.857.5427 Summerfiel, FL Incoming, CL 1 _ ss zs
Apr 9 150PM 352.427.8659 Summerfiel, FL Ocala, FL 1 - = ai
Apr 158PM 352.857.5427 Summerfiel, FL Incoming, CL 1 _ - -
Apr 9 2:03PM 352.857.5427 Summertiel, FL Ocala, FL 5 - = i
Apr 9 2:25PM 229.315.8146 Ocala, FL McRae, GA 21 - a a
Aprg 4:01PM 352.812.3663 Ocala, FL Ocala, FL 5 _ - oe
Apr9 4:42PM 352.895.8000 Ocala, FL Ocala, FL 3 - ~ sis
Apr 59 PM 352.454.3167 Ocala, FL Incoming, CL 8 _ <i =
! ee = = =
‘Aor 9 7:45PM 229.315,5375 Ocala, FL McRae, GA 2 -- - a
Aprs 752PM 352.812.7929 Ocala, FL Incoming, CL 10 ~- ne oi
Apr 10 90:22 AM 352.812.7929 Ocala, FL Incoming, CL 9 _ = ne
Apr 10 3:43PM 352.817.6809 Ocala, FL Ocala, FL 3 - - ie
Apr 70 5:48PM 352.322.3743 Ocala, FL Dunnellon, FL 14 - ~ sas
Apr 10 6:06PM 352.812.7929 Ocala, FL Ocala, FL 2 _ - ee
Apr 9:30 AM 352.895.8000 Ocala, FL Ocala, FL 16 = ee =
Apri 10:28 AM 229.315.5375 Ocala, FL Incoming, CL 3 - = =~
Apr ti 10:31AM 229.315.5375 Ocala, FL Incoming, CL 1 _ = wee
Apr Ti 97058 AM 352.671.8100 Ocala, FL Ocala, FL ll -—- a ‘a
Apr Ti 1:32PM 352.671.8100 Ocala, FL Ocala, FL 1 - = ie
Apri 2:26PM 352.895.8000 Ocala, FL Ocala, FL 3 ~ a =

 
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Talk activity - continued

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Airtime Long Dist/
Date Time Number Origination Destination Min. Charges Other Chgs Total
Apr 11 2:46PM 352.213.4000 Ocala, FL VM Deposit, CL 2 s zs a
Apr 11 2:50PM 352.213.4000 Ocala, FL Incoming, CL 3 - “5 =
Apr Ti 2:54PM 352.553.7014 Ocala, FL Belleview, FL 2 = = =
Apr ti 4:25PM 352.245,7021 Ocala, FL Belleview, FL 2 = = =
Apr Ti 5:13PM 352.895.8000 Ocala, FL Ocala, FL 3 = = =
Apr ti 8:47 PM 352.857.5427 Ocala, FL Incoming, CL 1 = = =
Apr 12 9:13 AM 2293195375 The Villag, FL Incoming, CL 1 = == =
Apr 12 944 AM 352.427.1587 The Villag, FL Ocala, FL 1 <= = —
Apr 12 915 AM 352.322.3743 Summerfiel, FL Dunnellon, FL 1 - = ~
Apr 12 9:48 AM 352.322.3743 Summerfiel, FL Dunnellon, FL 1 cs z =
Apri2 10:23 AM 352.857.5427 Ocala, FL Ocala, FL 6 ss % e
Apri2 1040 AM 352.812.7929 Ocala, FL Incoming, CL 9 aie = ss
Apri2 1050 AM 352.274.5052 Ocala, FL VM Deposit, CL 2 -- = a
Apri2 1052AM 352.812.2807 Ocala, FL VM Deposit, CL 2 - ~ _
Apri2  1057AM 3528127929 Ocala, FL Incoming, CL 5 _ -- ~
Apri2 1:01AM 352.812.2807 Ocala, FL Incoming, CL 2 - - -
Apri2 1:05AM 352.812.7929 Ocala, FL Incoming, CL 5 7 iss ss
Apri2  1k21AM 352.299.1155 Ocala, FL Ocala, FL 2 _ ~ =
Apri2 1154 AM 2293155375 Ocala, FL McRae, GA 5 _ - ~
Apr 12 144PM 352.516.7739 Ocala, FL Eustis, FL 2 = - -
Apr 12 2:42PM 352.291.4085 Ocala, FL Incoming, CL 2 Ze a =
Apr 12 3:02PM 352.895.8000 Ocala, FL Ocala, FL 2 sa = a
Apr 12 6:11PM 229.315.8146 Ocala, FL Incoming, GL 6 = = =
Apr 12 6:29PM 2293158146 Ocala, FL McRae, GA 1 “ = ~
Apr 12 6:31PM 2293158146 Ocala, FL Incoming, CL 26 ~ - ~
Apr 12 7:35PM 352,8575427 Ocala, FL Incoming, CL 1 zs = =
“Npr?3 7:05AM 866.861.5300 Ocala,FL Toll-Free, 1 7 - =
Apr 8 8:29 AM 352.895.8000 Ocala, FL Incoming, CL 1 zs = a
Apr 3 9:35 AM 866.8615300 Ocala, FL Toll-Free, CL 2 = a =
Apr?8 1049 AM 352.922.3743 Ocala, FL Incoming, CL 6 ~ “ =
‘Apri#8-1132,AM 866.8615300 Ocala, FL Toll-Free, CL 1 = = a
-Apr’8 1h43'AM 888.600.2890 Ocala, FL Toll-Free, CL 4 = = =
Apri 1:44PM 3528127929 Ocala, FL Ocala, FL 5 _ ~ -
Apr 8 248 PM 352.279.5529 Ocala, FL VM Deposit, CL 2 = = =
Apr B 2:20PM 352.279.5529 Ocala, FL Incoming, CL 1 = = -
Apr?8 334 PM_ 866.735.0901 Ocala, FL Toll-Free, CL 2 = = =
Apr?8 4:43PM 2293155375 Ocala, FL McRae, GA 4 < “ =
Apr 4 9:06 AM 352.857.5427 Ocala, FL Incoming, CL 1 “ - ae
Apr 14 915 AM 407.396.2900 Ocala, FL Wkissimmee, FL 1 ~- - =
Apr 14 9:46 AM 352.857.5427 Ocala, FL Incoming, CL 5 _ ~ -_
Apri4 10:45 AM 229.3155375 Ocala, FL Incoming, CL 2 ~ - -
Apr#S —_ 1049AM_ 352.812.7929 Ocala, FL Incoming, CL 21 a os
__Apri6 e112 AM= 724.718.2426 Ocala, FL Sharpsvl;PA 2 = os =
‘Aprié1i14,AM 724.456.8780 OcalaFL = -—s«Sharpsvi,PA 2 = “= =
Apr’6 = THI7 AM_—- 352.553.7014 Ocala, FL Belleview, FL 2 _ - =

 
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Talk activity - continued
Airtime Long Dist/
Date Time Number Origination Destination Min. Charges Other Chgs Total
Apr 23 8:01AM 352.213.4000 Ocala, FL Incoming, CL 1 - - -
Apr 23 THO AM 352.895.8000 Anthony, FL Incoming, CL 3 -- _ _
Apr 23 1:52AM 352.440.1182 Ocala, FL Old Town, FL 22 _ - ~-
Apr 23 1217 PM 352.895.8000 Ocala, FL Ocala, FL 3 - - ~
Apr 23.__..12:34.PM: 856.533.4310 Ocala, FL Moorestown, NJ 2 - - _
~Apr23 12:42PM 352.291.4092 Ocala, FL Incoming, CL 1 = = -
Apr 23 1423PM 352.266.2676 Ocala, FL Ocala, FL 3 -- - -
Apr 23 2:24PM 352.572.3900 Ocala, FL Ocala, FL 2 - -- -
Apr 23 2:59PM 352.895.8000 Ocala, FL Incoming, CL 6 - -- -
Apr 23 3:39PM 352.895.8000 Ocala, FL Incoming, CL 6 - _ -
Apr 23 459PM 352.322.3743 Ocala, FL Incoming, CL 2 _ _ _
Apr 23 5:10PM 352.694.4602 Ocala, FL Ocala, FL 1 - “= -
Apr 23 5:40PM 352.322.3743 Ocala, FL Dunnellon, FL 4 _ - ~
Apr 23 5:56PM 229,315,5375 Ocala, FL Incoming, GL 3 — = --
Apr 23 6:00 PM 949.306.6779 Ocala, FL Laguna Bch, CA 2 _ - -
Apr23 6:03PM 352.857.5427 Ocala, FL Incoming, CL 2 ~ ~ -
Apr 23 6:06 PM 352.812.3009 Ocala, FL Ocala, FL 3 - - -
Apr 23 6:11PM 352.875.5856 Ocala, FL Ocala, FL 2 - - -
Apr 23 6:20PM 352.322.3743 Ocala, FL VM Deposit, CL 1 - _ -
Apr 23 6:47PM 352.322.3743 Ocala, FL Dunnellon, FL 1 - - =
Apr 23 6:48PM 352.322.3743 Ocala, FL Dunnellon, FL 1 -- - -
Apr 23 7:46PM 352.857.5427 Ocala, FL Incoming, CL 3 _ “ -
Apr 24 8:7 AM 352.895.8000 Ocala, FL Incoming, CL. 14 - - -
Apr 24 832 AM 352.789.5175 Ocala, FL VM Deposit, CL 2 - - -
Apr 24 9:07 AM 949.306.8779 Ocala, FL Laguna Bch, CA 1 - - -
Apr 24 9:08 AM 352.895.8000 Ocala, FL Incoming, CL 1 - - ~
Apr 24 9:08 AM 352.291.4092 Ocala, FL Ocala, FL 4 - - -
Apr 24 3:09AM 352.291.4092 Ocala, FL Ocala, FL 1 - -- -
Apr 24 9:09 AM 352.291.4092 Ocala, FL Ocala, FL 2 _ ~ _
Apr 24 9:18 AM 352.895.8000 Ocala, FL Ocala, FL 5 - -- -
Apr 24 9:26 AM 352.694.4602 Ocala, FL Ocala, FL 1 - - a
Apr 24 9:32 AM 352.622.1818 Ocala, FL Incoming, CL 2 - - _
Apr 24 1053 AM 352.895.8000 Crystal Rl, FL Incoming, CL 2 -- _ si
Apr 24 1055 AM 352.427.1587 Crystal Ri, FL Ocala, FL 1 - = ~-
Apr 24 1056 AM 352.861.2522 Crystal Ri, FL Ocala, FL 3 - - -
Apr 24 THOS AM 352.895.8000 Crystal Ri, FL VM Deposit, CL 1 -- - -—
Apr 24 Tk24.AM 352.857.5427 Homosassa, FL Ocala, FL ie _ - =
Apr 24 1:26 AM 352.789.5175 Homosassa, FL Incoming, CL 1 - - =
Apr 24 1:36 AM 352.861.2522 Homosassa, FL Ocala, FL 5 _ - ae
Apr 24 12:24PM 352.857.3026 Dunnellon, FL VM Deposit, CL 1 = - -
Apr 24 1245 PM 352.857:3026 Ocala, FL Incoming, GL 1 - _ -_
Apr 24 106 PM 352.857.3026 Ocala, FL Ocala, FL 4 - - =
Apr 24 196 PM = 352.857.3026 Ocala, FL Incoming, CL 6 - - -
Apr 24 2:08 PM 352.895.8000 Ocala, FL Incoming, CL 7 - - -
Apr 24 545 PM 352.895.8000 Ocala, FL Ocala, FL 4 - - -

 

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